                                                     SYLLABUS

(This syllabus is not part of the opinion of the Court. It has been prepared by the Office of the Clerk for the
convenience of the reader. It has been neither reviewed nor approved by the Supreme Court. Please note that, in the
interest of brevity, portions of any opinion may not have been summarized.)

                             Debra Dugan v. TGI Fridays, Inc. (A-92-15) (077567)
                       Ernest Bozzi v. OSI Restaurant Partners, LLC (A-93-15) (077556)

Argued April 4, 2017 -- Decided October 4, 2017

PATTERSON, J., writing for the Court.


          In these consolidated appeals, the Court applies the class action certification standard of Rule 4:32-1. The
plaintiffs allege that the defendant operators of New Jersey restaurants engaged in unlawful practices with respect to
the disclosure of prices for beverages and seek relief under the Consumer Fraud Act (CFA), N.J.S.A. 56:8-1 to -206,
and the Truth in Consumer Contract, Warranty and Notice Act (TCCWNA), N.J.S.A. 56:12-14 to -18.

        In the first of the two putative class actions, Dugan v. TGI Fridays, Inc., plaintiffs Debra Dugan and Alan
Fox (Dugan plaintiffs) claim that TGI Fridays, Inc. and Carlson Restaurants, Inc. (collectively, TGIF), maintained a
practice of offering certain beverages in menus without listing their prices in violation of the CFA and the
TCCWNA. The Dugan plaintiffs contend that market research TGIF produced in discovery demonstrates that
customers informed of beverage prices spent an average of $1.72 less on beverages than the customers to whom the
prices were not disclosed. On that basis, the Dugan plaintiffs stated their intention to prove that each member of
their putative class suffered the same ascertainable loss of $1.72 as a result of unconscionable commercial practices
and regulatory violations. They would use the $1.72 figure to calculate global damages for their entire class.

         Dugan moved for class certification. The trial court granted the motion; an Appellate Division panel
reversed. 445 N.J. Super 59 (App. Div. 2016). The panel concluded that the Dugan plaintiffs had failed to meet
Rule 4:32-1’s requirement that common issues of fact predominate over issues that pertain to individual class
members as to either the CFA or the TCCWNA claim. The Court granted leave to appeal. 226 N.J. 543 (2016).

          The second putative class action, Bozzi v. OSI Restaurant Partners, LLC, was filed by plaintiff Ernest
Bozzi against OSI Restaurant Partners, LLC (OSI), an entity that has allegedly owned, controlled and operated a
number of restaurants in New Jersey. Although Bozzi relied on the same statutes cited by the Dugan plaintiffs, he
focused more narrowly on OSI’s alleged practice of increasing the prices of beverages in the course of a customer’s
visit without disclosing that change. Bozzi’s individual factual allegations relate to a restaurant visit during which
he ordered two Peroni beers and discovered when he received his check that the first cost $3.25, and the second
$4.25. According to Bozzi, he protested the disparity to a staff member, who told him that “the computer changes
the price at certain times” and that it was the restaurant’s policy to charge customers accordingly.

          Bozzi moved for certification of a class pursuant to Rule 4:32-1. The trial court granted the motion and
defined the class to include “[a]ll persons who: (a) visited any OSI Restaurant Partners, LLC or Bloomin’ Brands,
Inc. restaurant in New Jersey, from 12/23/04 to the present date; and (b) purchased an item offered on the menu or
table placards for which no price was disclosed on the menu or table placard.” OSI moved for leave to appeal. An
Appellate Division panel denied that motion. The Court granted leave to appeal. 226 N.J. 543 (2016).

HELD: Because CFA class action jurisprudence rejects “price-inflation” theories, such as the theory presented by the
Dugan plaintiffs, as incompatible with the CFA’s terms, the Dugan plaintiffs have not established predominance with
respect to their CFA claims. Bozzi’s allegations focus primarily on a specific pricing practice. If the Bozzi class is
redefined to include only customers who make that specific CFA claim, and the claim is limited accordingly, plaintiff
Bozzi has met the requirements of Rule 4:32-1 and may attempt to prove that claim on behalf of the class. As to the
TCCWNA claims in both appeals, plaintiffs have failed to satisfy the predominance requirement of Rule 4:32-1.

1. Rule 4:32-1 prescribes the standard for the determination of a motion to certify a class. Subsection (a) imposes four
initial requirements, frequently termed numerosity, commonality, typicality and adequacy of representation, in order for


                                                          1
a class to be certified. If the plaintiff satisfies Rule 4:32-1(a)’s requirements, the court then considers the standard of
Rule 4:32-1(b)(3), which allows class actions to be maintained if “the court finds that the questions of law or fact
common to the members of the class predominate over any questions affecting only individual members, and that a
class action is superior to other available methods for the fair and efficient adjudication of the controversy.” (pp. 22-28)

2. The CFA was enacted to provide relief to consumers from fraudulent practices in the market place. In addition to
generally alleging unconscionable commercial practices under N.J.S.A. 56:8-2, the Dugan plaintiffs and Bozzi
allege that the defendant restaurants committed a regulatory violation by contravening N.J.S.A. 56:8-2.5. Under that
section of the CFA, it is an “unlawful practice” “to sell, attempt to sell or offer for sale any merchandise at retail
unless the total selling price of such merchandise is plainly marked by a stamp, tag, label or sign either affixed to the
merchandise or located at the point where the merchandise is offered for sale.” To prevail under the CFA, a plaintiff
must not only prove that unlawful conduct by defendant, but must also demonstrate an ascertainable loss by plaintiff
and a causal relationship between the unlawful conduct and the ascertainable loss. (pp. 28-33)

3. The Dugan plaintiffs seek to predicate a uniform finding of ascertainable loss and causation on the difference
between what they contend would be “fair” or “reasonable” prices for beverages and the prices that TGIF actually
charged. New Jersey case law has consistently rejected “price-inflation” theories—closely related to fraud on the
market theories—as a substitute for proof of ascertainable loss or causation in CFA claims. A “fair” or “reasonable”
price derived from the per-visit expenditures of marketing research subjects is no substitute for proof of the actual
claimants’ ascertainable loss and causation. The Dugan plaintiffs failed to establish predominance with respect to
their CFA claim. The panel properly reversed the certification of a class with respect to that claim. (pp. 34-49)

4. Bozzi focused on a category of OSI restaurant customers: customers who, in the course of a single visit to an
OSI restaurant, were charged different prices for beverages of the same brand, type, and volume. Bozzi has met the
requirements for class certification with respect to his CFA claim, if the class is thus limited. The Court therefore
reverses the trial court’s class certification order and remands for the certification of a redefined class. (pp. 50-55)

5. The second claim asserted by the putative classes in both appeals is based on the TCCWNA. To obtain a remedy
under the TCCWNA, a plaintiff must be an “aggrieved consumer”—a consumer who satisfies the elements of the
TCCWNA. N.J.S.A. 56:12-17. To be found liable under the TCCWNA, a defendant must have violated a “clearly
established legal right” or “responsibility.” N.J.S.A. 56:12-15. Plaintiffs contend that by failing to list prices for
beverages on the menus, the restaurants failed to meet their “clearly established” legal responsibilities under
N.J.S.A. 56:8-2.5; they contend that the statute required defendants to “plainly mark” the beverages that they sold
“by a stamp, tag, label or sign” in the location where the beverages were offered for sale. (pp. 56-61)

6. Plaintiffs have not met the predominance requirement with respect to their TCCWNA claims in either appeal.
TCCWNA addresses “contract[s],” “warrant[ies],” “notice[s],” and “sign[s]” and does not apply when a defendant
fails to provide the consumer with a required writing. N.J.S.A. 56:12-15. Accordingly, a claimant who does not, at
a minimum, prove that he or she received a menu cannot satisfy the elements of TCCWNA and is not an “aggrieved
consumer.” The trial courts improperly granted class certification as to plaintiffs’ TCCWNA claims. (pp. 62-67)

         In Dugan v. TGI Fridays Inc., the judgment of the Appellate Division is AFFIRMED and MODIFIED.
In Bozzi v. OSI Restaurant Partners, LLC, the trial court’s class certification determination is AFFIRMED in part
and REVERSED in part. The matters are remanded to the trial courts for proceedings consistent with this opinion.

          JUSTICE ALBIN, DISSENTING, states that TGIF is in violation of the CFA, and the only remaining
issue is whether the CFA violation caused an ascertainable loss to the class of TGIF patrons. Justice Albin finds that
the $1.72 constitutes, on average, an ascertainable loss per person causally related to TGIF’s unlawful practice of
not disclosing prices. Justice Albin also disagrees that plaintiffs have failed to make out a claim under the
TCWWNA. According to Justice Albin, the majority’s decision will make it more difficult for a class of many
thousands of defrauded consumers to act collectively in pursuit of a common remedy against a corporate wrongdoer.

         CHIEF JUSTICE RABNER and JUSTICES LaVECCHIA, FERNANDEZ-VINA, and TIMPONE
join in JUSTICE PATTERSON’s opinion. JUSTICE ALBIN filed a separate, dissenting opinion. JUSTICE
SOLOMON did not participate.

                                                           2
                                        SUPREME COURT OF NEW JERSEY
                                          A-92 September Term 2015
                                          A-93 September Term 2015
                                              077567 and 077556

DEBRA DUGAN, ALAN FOX, and
ROBERT CAMERON on behalf of
themselves and all others
similarly situated,

    Plaintiffs-Appellants,

         v.

TGI FRIDAYS, INC., CARLSON
RESTAURANTS WORLDWIDE, INC.,
on behalf of themselves and
all others similarly situated,

    Defendants-Respondents.

ERNEST BOZZI, on behalf of himself
and all others similarly situated,

    Plaintiff-Respondent,

         v.

OSI RESTAURANT PARTNERS, LLC,
T/A CARRABBA’S ITALIAN GRILL, et al.,

    Defendants-Appellants.

         Argued April 4, 2017 – Decided October 4, 2017

         Dugan v. TGI Fridays, Inc. (A-92-15): On
         appeal from the Superior Court, Appellate
         Division, whose opinion is reported at 445
         N.J. Super. 59 (App. Div. 2016).

         Bozzi v. OSI Restaurant Partners, LLC (A-93-
         15): On appeal from the Superior Court,
         Appellate Division.




                                 1
Sander D. Friedman argued the cause for
appellants in Dugan v. TGI Fridays, Inc., (A-
92-15) (Law Office of Sander D. Friedman,
attorneys; Sander D. Friedman and Wesley G.
Hanna, on the briefs).

Stephen M. Orlofsky argued the cause for
respondents in Dugan v. TGI Fridays, Inc. (A-
92-15) (Blank Rome and LeClair Ryan, attorneys;
Stephen M. Orlofsky, David C. Kistler, Jeffrey
L. O’Hara, and Matthew S. Schultz, of counsel
and on the briefs).

David G. McMillin argued the cause for amicus
curiae Legal Services of New Jersey in Dugan
v. TGI Fridays, Inc. (A-92-15) (Legal Services
of New Jersey, attorneys; Melville D. Miller,
Jr. and David G. McMillin on the brief).

Michael A. Galpern argued the cause for amicus
curiae New Jersey Association for Justice in
Dugan v. TGI Fridays, Inc. (A-92-15) (Locks
Law Firm, attorneys; Michael A. Galpern,
Andrew P. Bell, and James A. Barry on the
brief).

Jeffrey S. Jacobson argued the cause for
amicus curiae New Jersey Civil Justice
Institute in Dugan v. TGI Fridays, Inc. (A-
92-15) (Lowenstein Sandler and Kelley Drye &amp;
Warren, attorneys; Jeffrey S. Jacobson and
Gavin J. Rooney on the brief).

Stephen M. Orlofsky argued the cause for
appellants   in   Bozzi  v.   OSI   Restaurant
Partners, LLC (A-93-15) (Blank Rome and Briggs
Law Office, attorneys; Stephen M. Orlofsky,
David C. Kistler, Michael A. Iannucci, Norman
W. Briggs, and Adrienne Chapman, of counsel
and on the briefs).




                      2
         Donald M. Doherty, Jr. argued the cause for
         respondent   in  Bozzi   v.  OSI   Restaurant
         Partners, LLC (A-93-15) (Law Office of Donald
         M. Doherty, attorneys; Donald M. Doherty, Jr.
         on the brief).

         Jonathan Romberg argued the cause for amicus
         curiae Seton Hall University School of Law
         Center for Social Justice in Dugan v. TGI
         Fridays, Inc. (A-92-15) and Bozzi v. OSI
         Restaurant Partners, LLC (A-93-15) (Seton Hall
         University School of Law Center for Social
         Justice, attorneys; Jonathan Romberg on the
         briefs).

         David R. Kott argued the cause for amicus
         curiae New Jersey Business &amp; Industry
         Association in Dugan v. TGI Fridays, Inc.
         (A-92-15) and Bozzi v. OSI Restaurant
         Partners, LLC (A-93-15) (McCarter &amp; English,
         attorneys; David R. Kott, Edward J. Fanning,
         Zane C. Riester, and Elizabeth K. Monahan,
         of counsel and on the briefs).

    JUSTICE PATTERSON delivered the opinion of the Court.

    In these consolidated appeals, the plaintiffs allege that

the defendant operators of New Jersey restaurants engaged in

unlawful practices with respect to the disclosure of prices

charged to customers for alcoholic and non-alcoholic beverages.

Based upon different theories of ascertainable loss and

causation, plaintiffs in the two actions demand damages and

other relief against defendants under the Consumer Fraud Act

(CFA), N.J.S.A. 56:8-1 to -206.       They also seek damages, civil

penalties, and other relief under the Truth in Consumer



                                  3
Contract, Warranty and Notice Act (TCCWNA), N.J.S.A. 56:12-14 to

-18.

       In each case, the trial court certified the action as a

class action pursuant to Rules 4:32-1 and 4:32-2.     In Dugan v.

TGI Fridays, Inc., 445 N.J. Super. 59 (App. Div. 2016), an

Appellate Division panel reversed the trial court’s

certification of a class.   The Appellate Division denied the

defendant’s motion for leave to appeal in Bozzi v. OSI

Restaurant Partners, LLC.   We granted leave to appeal in both

actions.

       Applying the class action certification standard of Rule

4:32-1 to the CFA claim asserted in Dugan v. TGI Fridays, Inc.,

we hold that plaintiffs have failed to show that common

questions of law and fact predominate over individual issues, as

Rule 4:32-1 requires.    As an alternative to presenting proof of

ascertainable loss and causation as to each member of the class,

the Dugan plaintiffs propose to demonstrate, for a class

numbering in the millions, that TGIF charged each member of the

class $1.72 more than the “fair” or “reasonable” prices that it

would have charged had it disclosed its beverage prices on the

menu.   Because our CFA class action jurisprudence rejects

“price-inflation” theories, such as the theory presented by the

Dugan plaintiffs, as incompatible with the CFA’s terms, we

                                 4
conclude that the Dugan plaintiffs have not established

predominance with respect to their CFA claims.   We accordingly

modify and affirm the Appellate Division’s determination that

the Dugan class was improperly certified for purposes of the CFA

claims asserted in that action and remand for a determination of

the individual plaintiffs’ CFA claims.

    We reach a different conclusion with respect to the CFA

claims asserted by plaintiff Ernest Bozzi in Bozzi v. OSI

Restaurant Partners, LLC.   Although Bozzi asserts general claims

that the defendant restaurants failed to disclose prices, his

allegations focus primarily on a specific pricing practice.     He

alleges that the defendant restaurants violated the CFA by

increasing the price charged to a customer for the same brand,

type, and volume of beverage in the course of the customer’s

visit to the restaurant, without notifying the customer of the

change.   Bozzi’s counsel represents that this price-shifting

claim is supported by claimant-specific receipts showing that

each customer making this claim was charged different prices for

the same brand, type, and volume of beverage in the course of a

single visit to one of the defendant’s restaurants.

    We hold that if the Bozzi class is redefined to include

only customers who make that specific CFA claim, and the claim

is limited accordingly, plaintiff Bozzi has met the requirements

                                 5
of Rule 4:32-1 and may attempt to prove that claim on behalf of

the class.   We modify and affirm the trial court’s determination

as to the CFA claim in Bozzi and remand for the certification of

a class that is limited accordingly.

     With respect to the claims based on the TCCWNA in both

appeals, we conclude that plaintiffs have failed to satisfy the

predominance requirement of Rule 4:32-1.   We therefore reverse

the trial courts’ class certification determinations in both

cases with respect to those claims and remand for a

determination of plaintiffs’ individual TCCWNA claims.

                                I.

     We base our summary of the factual allegations and

procedural history of each action on the complaints and the

class certification record presented to the trial court in each

case.

                                A.

     In the first of the two putative class actions, Dugan v.

TGI Fridays, Inc., plaintiffs Debra Dugan and Alan Fox (Dugan

plaintiffs) assert claims against defendants TGI Fridays, Inc.

and Carlson Restaurants, Inc.1 (collectively, TGIF), owners and

operators of TGIF restaurants in New Jersey.


1  Carlson Restaurants Worldwide, Inc., which was named as a
defendant, is the former name of Carlson Restaurants, Inc.

                                 6
     The Dugan plaintiffs claim that TGIF maintained a practice

of offering certain beverages in New Jersey TGIF restaurants’

menus without listing the prices of those beverages.2   They

allege that TGIF violated the CFA by engaging in unconscionable

commercial practices contrary to N.J.S.A. 56:8-2.   They also

assert, among other claims, that TGIF violated a regulatory

provision, N.J.S.A. 56:8-2.5, by selling, attempting to sell, or

offering for sale “merchandise that is not price marked at the

point of purchase.”   The Dugan plaintiffs premise their claim

under the TCCWNA on the allegation that TGIF violated a “clearly

established legal right of a consumer or responsibility of a

seller” by offering beverages for sale “without notifying the

consumer of the total selling price at the point of purchase.”

(citing N.J.S.A. 56:12-15; N.J.S.A. 56:8-2.5).   The Dugan

plaintiffs demand damages, civil penalties, and other relief

under the TCCWNA.

     In the Dugan plaintiffs’ original complaint, Dugan was the

sole plaintiff and representative of the putative class.     Dugan


2  The Dugan plaintiffs alleged there were thirty-eight TGIF
restaurants in New Jersey. TGIF’s answers to interrogatories
indicated that there were thirty-four TGIF restaurants in New
Jersey, twenty that were company-owned and fourteen that were
operated as franchises. In their complaint, the Dugan
plaintiffs alleged that TGIF controls the content of the menus
in all TGIF restaurants, whether those restaurants are company-
owned or franchises.

                                7
asserted that, during visits to a company-owned TGIF restaurant

in Mount Laurel, she purchased “unpriced soft drinks, mixed

drinks, and beer off Defendants’ otherwise comprehensively

priced menus.”    Dugan alleged that on each visit she was not

made aware of the prices charged for the beverages until TGIF

staff presented her with a check.      In her original complaint,

she claimed that during a visit to a TGIF restaurant she was

charged $2.00 for a beer at the bar and later charged $3.59 for

the same brand of beer after moving to a table.

     Dugan alleged that her claims were typical of the claims of

the class and asserted that she met all of the requirements for

class certification under Rule 4:32-1.      She sought certification

of a class consisting of “all customers of New Jersey TGI

Friday’s who purchased items from the menu that did not have a

disclosed price.”

     TGIF moved before the trial court to dismiss Dugan’s

complaint for failure to state a claim pursuant to Rule 4:6-

2(e).     The trial court denied the motion to dismiss.   An

Appellate Division panel denied TGIF’s motion for leave to

appeal.    We granted TGIF’s motion for leave to appeal and

summarily remanded the matter to an Appellate Division panel for

consideration of the merits of the appeal.      In an unpublished

opinion, the panel concluded that Dugan had adequately pled her

                                   8
CFA and TCCWNA claims and affirmed the trial court’s

determination.   Dugan then filed a first amended complaint,

expanding her allegations regarding her visits to the TGIF

restaurant in Mount Laurel.

    The parties conducted class certification discovery.       In

her deposition, Dugan admitted that during the 2008 visit to a

TGIF restaurant in which she paid different prices for two

orders of identical beverages at the bar and at the table, she

did not read the beverage section of the menu.    She stated that

she did not realize until she later reviewed her receipt that

she had paid $2.00 for a beer at the bar and later paid $3.59

for a beer at a table.   Dugan later submitted a certification

stating that she had looked at the TGIF menu on many occasions

and expected to pay the same price at the bar that she paid when

she sat at a table.

    Among the documents produced by TGIF in discovery were

documents characterized by the Dugan plaintiffs as training

materials for TGIF servers.    Those documents stated that servers

seating customers should hand opened menus to customers.

    TGIF also produced what the Dugan plaintiffs characterize as

“market research.”    Plaintiffs’ counsel stated at oral argument

that those documents reflect a TGIF consultant’s analysis of

consumer behavior in the ordering of beverages in restaurants.

                                 9
The Dugan plaintiffs contend that the market research

demonstrates customers’ tendency to order less expensive or

fewer beverages if beverage prices are listed on the menu than

they order if the prices are unlisted.    As the research is

described by the Dugan plaintiffs, one group of customers

studied was informed of beverage prices when visiting a

restaurant and the other group was not.   The customers informed

of beverage prices spent an average of $1.72 less per visit than

the customers to whom the prices were not disclosed.    Relying on

the marketing research, the Dugan plaintiffs claim that TGIF is

in a position to charge a higher price for a beverage than the

price that it would be compelled by market forces to charge if

it were to disclose its beverage prices on restaurant menus.

    On that basis, the Dugan plaintiffs stated their intention

to prove that each member of their putative class suffered the

same ascertainable loss of $1.72 as a result of unconscionable

commercial practices and regulatory violations committed by

TGIF.   They indicated that they would use the $1.72 figure to

calculate global damages for their entire class.

     Relying on that theory of classwide proof of ascertainable

loss and causation, Dugan moved for class certification.3


3  TGIF cross-moved for summary judgment, which was denied by the
trial court.

                                10
Between the filing and the determination of that motion, Dugan

filed a second amended complaint, further detailing her

allegations about her visits to the TGIF restaurant, omitting

references to the specific prices that TGIF charged her, and

naming Fox as an additional plaintiff and class representative.4

Fox described visits to TGIF restaurants and alleged that he

would have ordered different or fewer beverages during one of

those visits had he been informed about the prices that would be

charged.

     The trial court concluded that the Dugan plaintiffs had

satisfied the requirements of Rule 4:32-1 and granted their

motion for class certification.    The court included in the class

definition all persons who visited a company-owned TGIF

restaurant “from January 12, 2004 to June 18, 2014, relied upon

[TGIF]’s menu, and purchased an offered but unpriced soda, beer

or mixed drink.”   The court later granted the Dugan plaintiffs’

motion to expand the class definition for purposes of providing

notice to the class.   As expanded, the class defined by the




4  The second amended complaint also included claims asserted by
a third class representative plaintiff, Robert Cameron, whose
allegations related to a visit to a franchise-owned TGIF
restaurant. After excluding customers who exclusively visited
franchise TGIF restaurants, the trial court dismissed Cameron’s
claims.

                                  11
trial court consisted of “[a]ll persons who visited a [TGIF]

restaurant in New Jersey that is owned by [TGIF] (i.e. company

owned store) from January 12, 2004 to July 14, 2014, and

purchased an offered but unpriced soda, beer or mixed drink.”5

     After the trial court denied its motion for reconsideration

and/or to decertify the class, TGIF filed a motion for leave to

appeal class certification and to stay class notice pending

appeal.   An Appellate Division panel denied the motions.   TGIF

moved before this Court for leave to appeal and for a stay.

This Court granted leave to appeal, stayed class notice and

further proceedings before the trial court, and remanded the

matter to the Appellate Division for consideration of the merits

of the appeal.

     An Appellate Division panel reversed the trial court’s

class certification determination.   Dugan v. TGI Fridays, Inc.,

445 N.J. Super 59, 79 (App. Div. 2016).6   The panel concluded


5  TGIF represents that the company retained to provide notice to
the class certified by the trial court estimated that the class
consists of thirteen to fourteen million members. The Dugan
plaintiffs state that the number of class members may be
substantially less than that estimate, as the estimate may
reflect individual customers’ repeat visits to TGIF restaurants.

6  The panel noted that the Dugan plaintiffs filed a motion for
leave to file a cross-appeal, challenging the trial court’s
limitations on the scope of the class. Dugan, supra, 445 N.J.
Super. at 70-71. In light of its class certification decision,
the panel did not reach the cross-appeal.

                                12
that the Dugan plaintiffs had failed to meet Rule 4:32-1’s

requirement “that common issues of fact as to . . . TGIF’s

customers who purchased unpriced soda, beer or mixed drinks

predominate over issues that pertain to individual class

members.”   Id. at 74.    The panel held that the trial court had

improperly included in the class definition all persons who

purchased an unpriced soda, beer, or mixed drink “regardless of

whether they reviewed the menu before purchasing the beverages”

and had therefore included in the class customers who could not

establish an ascertainable loss as a result of unlawful conduct,

as the CFA requires.     Ibid.

    The panel also determined that the Dugan plaintiffs had

failed to establish predominance under Rule 4:32-1 with respect

to their TCCWNA claims.    Id. at 77-79.   The panel noted the need

for “[i]ndividualized inquiries . . . to determine whether each

class member was handed a menu that lacked beverage pricing” and

to assess actual damages under N.J.S.A. 56:12-17.     Id. at 79.
Given its finding on the issue of predominance, the panel did

not reach Rule 4:32-1’s other class certification requirements.

    We granted the Dugan plaintiffs’ motion for leave to

appeal.   226 N.J. 543 (2016).    We also granted the motions of

Legal Services of New Jersey, the New Jersey Association for

Justice, the Seton Hall University School of Law Center for

                                  13
Social Justice, the New Jersey Civil Justice Institute, and the

New Jersey Business and Industry Association to appear as amici

curiae.

                                 B.

    The second appeal before the Court arose from another

putative class action, Bozzi v. OSI Restaurant Partners, LLC.

The action was filed by plaintiff Bozzi against OSI Restaurant

Partners, LLC (OSI), an entity that, according to plaintiffs,

maintains control of Carrabba’s Italian Grill (Carrabba’s)

restaurants in New Jersey.    In his initial complaint, Bozzi

asserted claims based solely on the pricing practices of OSI’s

Carrabba’s restaurants.   In his amended complaint, Bozzi

expanded his claim to include other New Jersey restaurants that

OSI has allegedly owned, controlled, and operated, including

Outback Steakhouse, Bonefish Grill, Fleming’s Prime Steakhouse

and Wine Bar, and Cheeseburger in Paradise restaurants.

    In his amended complaint, Bozzi asserted a CFA regulatory

violation claim based on OSI’s alleged contravention of N.J.S.A.

56:8-2.5 and a more general CFA claim based on OSI’s alleged

practice of “intentionally mislead[ing] customers through

stealth price adjustments.”   He alleged an ascertainable loss

under the CFA based on a contention that customers who are

uninformed about beverage prices pay higher prices and are

                                 14
“depriv[ed] . . . of their legitimate expectation of an

objectively reasonable price.”   Bozzi sought an injunction,

treble damages, and other relief under the CFA, and a judgment

declaring that he satisfied the requirements of his CFA claim,

pursuant to the Declaratory Judgment Act, N.J.S.A. 2A:16-53.     He

also pled a claim under the TCCWNA, based on OSI’s claimed

violation of N.J.S.A. 56:8-2.5, and sought damages and civil

penalties under that statute.

    Although Bozzi relied on the same statutes cited by the

Dugan plaintiffs, he focused more narrowly on OSI’s alleged

practice of increasing the prices of beverages in the course of

a customer’s visit without disclosing that change to the

customer.   Bozzi’s individual factual allegations relate

primarily to a 2010 visit to a Carrabba’s restaurant in Maple

Shade.   He asserts that, during that visit, neither the

restaurant’s menu nor any placards or displays disclosed drink

prices and that there were no signs, notices, or displays

indicating that there was a discount on drink prices in effect.

He asserts that he ordered two Peroni beers during his meal and

discovered when he received his check that the first beer cost

$3.25, and the second cost $4.25.     According to Bozzi, he

protested the pricing disparity to a restaurant staff member,

who told him that “the computer changes the price at certain

                                 15
times” and that it was the restaurant’s policy to charge

customers accordingly.

    Bozzi moved before the trial court for certification of a

class pursuant to Rule 4:32-1.    Although Bozzi had proposed, in

his initial complaint, a subclass limited to “persons who were

charged different prices for the same drinks during a trip to

the Defendants’ establishment,” he sought certification of a

broader class of customers who visited an OSI restaurant and

purchased a beverage offered on the menu or table placard

without a price.   Bozzi’s counsel represented to the trial court

that the expansive class definition was necessary for his TCCWNA

claim, which was premised on the general allegation that OSI

failed to disclose beverage prices on its restaurants’ menus.

He advised the trial court that for purposes of the CFA, the

claimed ascertainable loss was a “price differential loss,”

based on OSI’s alleged practice of charging different prices for

the same beverage on the same visit.   Counsel did not explain to

the trial court how he intended to prove ascertainable loss and

causation on a classwide basis.    He acknowledged that he

expected a later challenge to his claim that OSI’s alleged

practice of charging different prices for the same beverage gave

rise to a CFA violation.



                                  16
     The trial court granted Bozzi’s motion for class

certification.    The court defined the class to include “[a]ll

persons who:     (a) visited any OSI Restaurant Partners, LLC or

Bloomin’ Brands, Inc.7 restaurant in New Jersey, from 12/23/04 to

the present date; and (b) purchased an item offered on the menu

or table placards for which no price was disclosed on the menu

or table placard.”

     The trial court also granted Bozzi’s motion for injunctive

relief.   It ordered OSI to “list all prices in the menus for all

items contained in their menus,” and to “list prices for any

items displayed on a table placard or similar display available

to customers,” within ten days.    The court granted a stay of

proceedings before it, including the injunction, in anticipation

of OSI’s motion for leave to appeal its orders.

     OSI moved before the Appellate Division for leave to

appeal.   An Appellate Division panel denied that motion and

denied OSI’s motion for reconsideration.

     We granted OSI’s motion for leave to appeal.     226 N.J. 543
(2016).   We also granted the motions of the Seton Hall

University School of Law Center for Social Justice and the New




7  The record does not reveal Bloomin’ Brands Inc.’s relationship
to OSI, or its alleged role in the conduct at issue.

                                  17
Jersey Business and Industry Association to appear as amici

curiae.

                                II.

                                A.

    In Dugan v. TGI Fridays, Inc., plaintiffs argue that the

Appellate Division panel’s decision diverged from this Court’s

class certification jurisprudence, which endorses the class

action device as a method of resolving disputes between

plaintiffs with small claims for damages and institutional

defendants.   The Dugan plaintiffs argue that although there are

individualized questions that must be resolved to determine

their claims, common questions of law and fact predominate.

They contend that they can prove their CFA and TCCWNA claims for

the class as a whole because TGIF subjected all customers to a

price-gouging strategy, and they need not present proofs of each

customer’s interaction with the server or motivation in

purchasing a beverage.   The Dugan plaintiffs argue that damages

can be calculated for the class as a whole using the same

methodology as would apply to assess damages in an individual

plaintiff’s ordinary bad faith contract case.

    TGIF contends that the Appellate Division panel properly

reversed the trial court’s grant of class certification.    It

maintains that the Dugan plaintiffs cannot prove that the class

                                18
members suffered an ascertainable loss as a result of the

allegedly offending practices, as required by N.J.S.A. 56:8-19,

without demonstrating that loss for each individual claimant in

a class estimated to involve thirteen to fourteen million

beverage purchases.     TGIF contends that to establish a claim

under the TCCWNA, each class member would be required to prove

that he or she was given a menu, and to individually prove

damages, and that common questions of law and fact do not

predominate over individual questions as to the TCCWNA.

                                  B.

    In Bozzi v. OSI Restaurant Partners, LLC, OSI asks the

Court to reverse the trial court’s grant of class certification.

OSI contends that, in finding that common questions predominate

over individual issues in the resolution of plaintiffs’ CFA

claim, the trial court ignored the requirement that plaintiffs

prove that OSI’s conduct caused an ascertainable loss in order

to prevail under N.J.S.A. 56:8-19.     It argues that Bozzi’s claim

is predicated solely on OSI’s alleged “secret shift” of beverage

prices and that Bozzi’s individual theory of ascertainable loss

and causation diverges from the theory that applies to other

members of the class.     OSI asserts that to establish liability

under the TCCWNA each claimant must show that he or she was

provided with a menu that violated the law and consequently

                                  19
sustained damages and that the necessity of individual

determinations of the TCCWNA claims precludes effective

management of a class action in this case.   Finally, OSI argues

that the trial court should not have granted injunctive relief.

    Bozzi contends that the Court should construe N.J.S.A.

56:8-2.5 to mandate that restaurants post prices for beverages

on menus or placards and inform consumers if prices change.    He

proposes three alternative class definitions:    (1) an expansive

class asserting a TCCWNA claim, consisting of all customers who

visited an OSI restaurant and were presented with a menu; (2) a

more limited class, asserting a CFA claim, consisting of all

customers who purchased an unpriced beverage at an OSI

restaurant; and (3) the narrowest class, asserting a CFA claim,

consisting of customers who paid different prices for the same

beverage during a visit to an OSI restaurant.    Bozzi represents

that to prove ascertainable loss for members of the latter

class, he intends to rely on receipts showing that customers

paid different prices for the same beverage during the same

restaurant visit.

                                  C.

    Amicus curiae Legal Services of New Jersey contends that

class certification is essential to the vindication of low-

income consumers’ small claims.    It asserts that the Dugan

                                  20
plaintiffs met the predominance requirement of Rule 4:32-1

because the CFA does not require reliance, that the omission of

prices from TGIF menus gave rise to an inference of causation

for purposes of the CFA, and that the offering of menus without

beverage prices satisfied the “provision” requirement of the

TCCWNA.

    Amicus curiae New Jersey Association for Justice contends

that the practices of TGIF in Dugan generally violate the CFA

and the TCCWNA, thus satisfying the predominance requirement of

Rule 4:32-1 for purposes of the liability claim, and that

distinctions among the damages claims of class members should

not defeat class certification in that case.

    Amicus curiae Seton Hall University School of Law Center

for Social Justice contends that because of TGIF’s alleged

practice of not including drink prices on the menu and the

marketing research disclosed in discovery, the Dugan plaintiffs

are in a position to present collective proof of ascertainable

loss and causation.   It contends that the entire class may

demonstrate ascertainable loss based on the difference between

the price that TGIF charged and the price that it would have

charged had it not instituted a pricing scheme, or,

alternatively, based on the difference between the price charged

and a reasonable price.   Seton Hall University School of Law

                                21
Center for Social Justice argues, in both Dugan and Bozzi, that

the plaintiffs’ TCCWNA claims are even more appropriate for

classwide resolution than their CFA claims because the TCCWNA

does not require proof of ascertainable loss or causation.

    Amicus curiae New Jersey Civil Justice Institute argues

that a court should never certify a class action to pursue a

claim under the TCCWNA unless there is evidence that, at a

minimum, all class members received and reviewed the allegedly

offending contract.   It contends that the TCCWNA contemplates

individual litigation and that the prospect of a civil penalty

and an award of attorneys’ fees under the TCCWNA provides a

sufficient incentive for aggrieved consumers to bring individual

actions.

    Amicus curiae New Jersey Business and Industry Association

urges the Court to adopt a rule barring class certification for

the litigation of TCCWNA claims.     It contends that the TCCWNA’s

civil penalty provisions provide ample incentives for individual

litigation and that those provisions are unduly punitive when

imposed on behalf of a large class of claimants.

                               III.

    A “class action is ‘an exception to the usual rule that

litigation is conducted by and on behalf of the individual named

parties only.’”   Iliadis v. Wal-Mart Stores, Inc., 191 N.J. 88,

                                22
103 (2007) (quoting Califano v. Yamasaki, 442 U.S. 682, 700-01,

99 S. Ct. 2545, 2557, 61 L. Ed. 2d 176, 192 (1979)).     The class

action device “furthers numerous practical purposes, including

judicial economy, cost-effectiveness, convenience, consistent

treatment of class members, protection of defendants from

inconsistent obligations, and allocation of litigation costs

among numerous, similarly-situated litigants.”    Id. at 104.     In

light of those objectives, our courts have “consistently held

that the class action rule should be liberally construed.”        Lee

v. Carter-Reed Co., 203 N.J. 496, 518 (2010) (quoting Iliadis,

supra, 191 N.J. at 103).

    Pursuant to our court rules, a trial court considering a

putative class action “shall, at an early practicable time,

determine by order whether to certify the action as a class

action,” and, if certification is granted, enter an order

defining “the class and the class claims, issues or defenses”

and appointing class counsel.     R. 4:32-2(a).

    Rule 4:32-1 prescribes the standard for the determination

of a motion to certify a class.    Subsection (a) of that Rule

imposes four initial requirements, frequently termed

“numerosity, commonality, typicality and adequacy of

representation,” in order for a class to be certified.     Lee,



                                  23
supra, 203 N.J. at 519 (citing In re Cadillac V8-6-4 Class

Action, 93 N.J. 412, 424-25 (1983)).   The Rule provides:

         (a) General Prerequisites to a Class Action.
         One or more members of a class may sue or be
         sued as representative parties on behalf of
         all only if (1) the class is so numerous that
         joinder of all members is impracticable, (2)
         there are questions of law or fact common to
         the class, (3) the claims or defenses of the
         representative parties are typical of the
         claims or defenses of the class, and (4) the
         representative   parties   will   fairly   and
         adequately protect the interests of the class.
         [R. 4:32-1(a).]
    If the plaintiff satisfies Rule 4:32-1(a)’s requirements,

the court then considers the standard of Rule 4:32-1(b)(3):

         (b) Class Actions Maintainable.     An action
         may be maintained as a class action if the
         prerequisites of paragraph (a) are satisfied,
         and in addition:
         . . . .

              (3) the court finds that the questions
              of law or fact common to the members of
              the class predominate over any questions
              affecting only individual members, and
              that a class action is superior to other
              available methods for the fair and
              efficient     adjudication    of     the
              controversy.   The factors pertinent to
              the findings include:

                    (A) the interest of members of the
                    class in individually controlling
                    the prosecution or defense of
                    separate actions;
                    (B) the extent and nature of any
                    litigation    concerning     the

                               24
                     controversy already commenced by or
                     against members of the class;
                     (C)      the    desirability     or
                     undesirability in concentrating the
                     litigation of the claims in the
                     particular forum; and
                     (D) the difficulties likely to be
                     encountered in the management of a
                     class action.
    To determine predominance under Rule 4:32-1(b)(3), the

court decides “whether the proposed class is ‘sufficiently

cohesive to warrant adjudication by representation.’”      Iliadis,

supra, 191 N.J. at 108 (quoting Amchem Prods., Inc. v. Windsor,

521 U.S. 591, 623, 117 S. Ct. 2231, 2249, 138 L. Ed. 2d 689, 712

(1997)).   Rule 4:32-1(b)(3) does not demand a showing “that

there is an ‘absence of individual issues or that the common

issues dispose of the entire dispute,’ or ‘that all issues [are]

identical among class members or that each class member [is]

affected in precisely the same manner.’”   Lee, supra, 203 N.J.

at 520 (alterations in original) (quoting Iliadis, supra, 191

N.J. at 108-09).    Nor must a plaintiff demonstrate that the

number of common issues exceeds the number of individual issues.

Varacallo v. Mass. Mut. Life Ins. Co., 332 N.J. Super. 31, 45

(App. Div. 2000).

    The predominance factor, however, is “‘far more demanding’

than Rule 4:32-1(a)(2)’s requirement that there be questions of



                                 25
law or fact common to the class.”    Castro v. NYT Television, 384

N.J. Super. 601, 608 (App. Div. 2006) (quoting Amchem Prods.,

supra, 521 U.S. at 624, 117 S. Ct. at 2250, 138 L. Ed. 2d at

713).   As the Court observed in Lee, supra, the predominance

requirement mandates “a qualitative assessment of the common and

individual questions rather than a mere mathematical

quantification of whether there are more of one than the other.”

203 N.J. at 519-20 (citing Iliadis, supra, 191 N.J. at 108).       As

the Court has observed, “the answer to the issue of predominance

is found . . . in a close analysis of the facts and law.”

Iliadis, supra, 191 N.J. at 109 (alteration in original)

(quoting Cadillac, supra, 93 N.J. at 434).    The Court has

stressed the importance of such an analysis in the context of a

CFA class action, rejecting the contention that the identity of

a defendant’s conduct toward each plaintiff class member

obviates the need for a searching inquiry into each plaintiff’s

particular response to that identical conduct.    Int’l Union of

Operating Eng’rs Local No. 68 Welfare Fund v. Merck &amp; Co., Inc.,

192 N.J. 372, 390-91 (2007).

    A class action plaintiff must also demonstrate that “a

class action is superior to other available methods for the fair

and efficient adjudication of the controversy.”   R. 4:32-

1(b)(3).   A court analyzing that factor must undertake “(1) an

                                26
informed consideration of alternative available methods of

adjudication of each issue, (2) a comparison of the fairness to

all whose interests may be involved between such alternative

methods and a class action, and (3) a comparison of the

efficiency of adjudication of each method.”   Iliadis, supra, 191

N.J. at 114-15 (quoting Cadillac, supra, 93 N.J. at 436); see

also Int’l Union, supra, 192 N.J. at 383 (holding that

“superiority” requirement mandates “‘a comparison with

alternative procedures’ to evaluate both fairness and efficiency

of the class action proceeding” (quoting Iliadis, supra, 191

N.J. at 114)).

    In determining a motion for class certification, a court

“must ‘accept as true all of the allegations in the complaint,’

and consider the remaining pleadings, discovery (including

interrogatory answers, relevant documents, and depositions), and

any other pertinent evidence in a light favorable to plaintiff.”

Lee, supra, 203 N.J. at 505 (quoting Int’l Union, supra, 192

N.J. at 376); accord Iliadis, supra, 191 N.J. at 96.

    The deferential standard by which the court views the facts

alleged, however, does not apply to a plaintiff’s assertion that

a given case is appropriate for class certification.   To the

contrary, a court deciding class certification “must undertake a

‘rigorous analysis’ to determine if the Rule’s requirements have

                               27
been satisfied.”   Iliadis, supra, 191 N.J. at 106-07 (quoting

Carroll v. Cellco P’ship, 313 N.J. Super. 488, 495 (App. Div.

1998)).   “That scrutiny requires courts to look ‘beyond the

pleadings [to] . . . understand the claims, defenses, relevant

facts, and applicable substantive law.’”   Id. at 107 (alteration

in original) (quoting Carroll, supra, 313 N.J. Super. at 495).

    When an order granting or denying class certification is

reviewed on appeal, the “appellate court must ascertain whether

the trial court has followed” the class action standard set

forth in Rule 4:32-1.   Lee, supra, 203 N.J. at 506.   In general,

an appellate court reviews a trial court’s class action

determination for abuse of discretion.   See Cadillac, supra, 93

N.J. at 438-39 (determining whether trial court abused its

discretion in certifying class); Muise v. GPU, Inc., 371 N.J.

Super. 13, 29 (App. Div. 2004) (reviewing trial court’s

determination that class certification was not warranted for

abuse of discretion); Pressler &amp; Verniero, Current N.J. Court

Rules, comment 2.2.3 on R. 4:32-1(b)(3) (2017).

                                IV.

                                A.

    In accordance with Rule 4:32-1 and our case law, we review

the trial court’s certification of a class for the determination

of the CFA claims asserted in each of the two appeals before the

                                28
Court.   As an initial step in that inquiry, we review the

substantive law that governs the plaintiffs’ CFA claims.      See

Iliadis, supra, 191 N.J. at 107 (finding that court determining

class certification must analyze claims and defenses); Lee,

supra, 203 N.J. at 506 (noting need to review substantive law).

    The CFA was enacted to “provide[] relief to consumers from

‘fraudulent practices in the market place.’”   Lee, supra, 203

N.J. at 521 (quoting Furst v. Einstein Moomjy, Inc., 182 N.J. 1,

11 (2004)).   Originally, the CFA permitted no private right of

action; rather, it authorized “the Attorney General to combat

the increasingly widespread practice of defrauding

the consumer.”   Cox v. Sears Roebuck &amp; Co., 138 N.J. 2, 14

(1994) (quoting S. Comm. Statement to S. 199 (1960) (L. 1971, c.

247, § 7)).   In 1971, the Legislature amended the CFA “to permit

individual consumers to bring private actions to recover

refunds, N.J.S.A. 56:8-2.11 to -2.12, and treble damages for

violations, N.J.S.A. 56:8-19.”    Weinberg v. Sprint Corp., 173

N.J. 233, 248 (2002) (citing Lemelledo v. Beneficial Mgmt. Corp.

of Am., 150 N.J. 255, 264 (1997); Riley v. New Rapids Carpet

Ctr., 61 N.J. 218, 226 (1972)).

          The CFA’s private cause of action is an
          “efficient mechanism to: (1) compensate the
          victim for his or her actual loss; (2) punish
          the wrongdoer through the award of treble
          damages; and (3) attract competent counsel to

                                  29
         counteract the ‘community scourge’ of fraud by
         providing an incentive for an attorney to take
         a case involving a minor loss to the
         individual.”

         [D’Agostino v. Maldonado, 216 N.J. 168, 183-
         84 (2013) (quoting Weinberg, supra, 173 N.J.
         at 249).]

    N.J.S.A. 56:8-2 expansively defines the conduct that

violates the CFA:

         The act, use or employment by any person of
         any   unconscionable   commercial    practice,
         deception,   fraud, false pretense, false
         promise, misrepresentation, or the knowing[]
         concealment, suppression, or omission of any
         material fact with intent that others rely
         upon   such   concealment,    suppression   or
         omission, in connection with the sale or
         advertisement of any merchandise or real
         estate, or with the subsequent performance of
         such person as aforesaid, whether or not any
         person has in fact been misled, deceived or
         damaged thereby, is declared to be an unlawful
         practice.

    An “unlawful practice” contravening the CFA may arise from

(1) an affirmative act; (2) a knowing omission; or (3) a

violation of an administrative regulation.   Thiedemann v.

Mercedes-Benz USA, LLC, 183 N.J. 234, 245 (2005); Cox, supra,

138 N.J. at 17.   A showing of intent is not essential if the

claimed CFA violation is an affirmative act or a regulatory

violation, but such a showing is necessary if the claimed

violation is an omission pursuant to N.J.S.A. 56:8-2.     Bosland

v. Warnock Dodge, Inc., 197 N.J. 543, 556 (2009); Gennari v.

                                30
Weichert Co. Realtors, 148 N.J. 582, 605 (1997); Cox, supra, 138

N.J. at 17-18.

    In addition to generally alleging unconscionable commercial

practices under N.J.S.A. 56:8-2, the Dugan plaintiffs and Bozzi

allege that the defendant restaurants committed a regulatory

violation by contravening N.J.S.A. 56:8-2.5.   Under that section

of the CFA, it is an “unlawful practice” “to sell, attempt to

sell or offer for sale any merchandise at retail unless the

total selling price of such merchandise is plainly marked by a

stamp, tag, label or sign either affixed to the merchandise or

located at the point where the merchandise is offered for sale.”

N.J.S.A. 56:8-2.5; see also In re Johnny Popper, Inc., 413 N.J.

Super. 580, 588-89 (App. Div. 2010) (concurring with Division of

Consumer Affairs’ determination that used car dealer’s practice

of listing vehicle prices only on price list in its building,

rather than affixing prices to vehicles or listing them near

vehicles, violated N.J.S.A. 56:8-2.5).   That provision is

central to plaintiffs’ CFA and TCCWNA claims in these appeals.

    To prevail under the CFA, a plaintiff must not only prove

“unlawful conduct by defendant,” but must also demonstrate “an

ascertainable loss by plaintiff” and “a causal relationship

between the unlawful conduct and the ascertainable loss.”



                               31
D’Agostino, supra, 216 N.J. at 184 (quoting Bosland, supra, 197

N.J. at 557).   The statute provides that

          [a]ny person who suffers any ascertainable
          loss of moneys or property, real or personal,
          as a result of the use or employment by another
          person of any method, act or practice declared
          unlawful under this act . . . may bring an
          action . . . . In any action under this section
          the court shall, in addition to other
          appropriate legal or equitable relief, award
          threefold the damages sustained by any person
          in interest.      In all actions under this
          section . . . the court shall also award
          reasonable attorneys’ fees, filing fees and
          reasonable costs of suit.

          [N.J.S.A. 56:8-19.]

    Although “the Attorney General does not have to prove that

the victim was damaged by the unlawful conduct, a private

plaintiff must show that he or she suffered an ‘ascertainable

loss.’”   Meshinsky v. Nichols Yacht Sales, Inc., 110 N.J. 464,

473 (1988) (quoting N.J.S.A. 56:8-2); see also Weinberg, supra,

173 N.J. at 251 (“[T]he plain language of the Act unmistakably

makes a claim of ascertainable loss a prerequisite for a private

cause of action . . . .”); Lee, supra, 203 N.J. at 522 (“To

establish causation, a consumer merely needs to demonstrate that

he or she suffered an ascertainable loss . . . .”).   As this

Court has noted, “[t]o raise a genuine dispute about [an

ascertainable loss claim], the plaintiff must proffer evidence


                                32
of loss that is not hypothetical or illusory.”   Thiedemann,

supra, 183 N.J. at 248.

    N.J.S.A. 56:8-19’s causation element -- the requirement

that plaintiff prove that he or she suffered an ascertainable

loss “as a result of” the defendant’s unlawful “method, act or

practice” -- is “not the equivalent of reliance.”   Lee, supra,

203 N.J. at 522; accord Gennari, supra, 148 N.J. at 607.

Instead, the CFA requires a showing of “a causal relationship

between the unlawful conduct and the ascertainable loss.”

Bosland, supra, 197 N.J. at 557; see also N.J. Citizen Action v.

Schering-Plough Corp., 367 N.J. Super. 8, 12-13 (App. Div.),

certif. denied, 178 N.J. 249 (2003).   “The limiting nature of

the requirement allows a private cause of action only to those

who can demonstrate a loss attributable to conduct made unlawful

by the CFA.”   Thiedemann, supra, 183 N.J. at 246 (citing

Meshinsky, supra, 110 N.J. at 473).

    The CFA elements of ascertainable loss and causation are

the focus of the parties’ dispute regarding Rule 4:32-1

predominance in these appeals.

                                 B.

                                 1.

    Guided by the statutory language and jurisprudence defining

a private cause of action under N.J.S.A. 56:8-19, we review the

                                 33
Appellate Division panel’s determination that the Dugan

plaintiffs failed to demonstrate predominance under Rule 4:32-

1(b)(3) with respect to their CFA claims.

    For purposes of our analysis, we assume the truth of the

Dugan plaintiffs’ allegation that TGIF, prompted by its market

research, declined to list prices for its beverages on its menus

in order to increase its revenue from beverage sales.     See Lee,

supra, 203 N.J. at 505; Iliadis, supra, 191 N.J. at 96.     We also

assume the truth of the Dugan plaintiffs’ allegation that during

visits to TGIF restaurants, the class members purchased

beverages for which prices were not listed on the menus.    Ibid.

We accept as true for purposes of the appeal the testimony of

class representatives Dugan and Fox that, during their visits to

TGIF restaurants, they would not have ordered the beverages that

they ordered, or they would have ordered fewer or less expensive

beverages, had they been informed of the beverage prices.    Ibid.

    In our “qualitative assessment of the common and individual

questions,” Lee, supra, 203 N.J. at 519, we note that

plaintiffs’ pricing claims are inherently different from the CFA

claims in our prior CFA class action case law.   Here, plaintiffs

do not allege that they purchased defective or deficient goods,

as the claimants contended in several of this Court’s CFA class

certification decisions.   See, e.g., id. at 526-28 (stating that

                                34
if plaintiffs proved allegations that defendants made false

claims about dietary supplement, product is worthless “bottle of

broken promises” and each purchase, unless refunded, “is an out-

of-pocket loss”); Furst, supra, 182 N.J. at 9 (“[W]hen a

merchant violates the [CFA] by delivering defective goods and

then refusing to provide conforming goods, a customer’s

ascertainable loss is the replacement value of those goods.”);

Cadillac, supra, 93 N.J. at 434-35 (concluding that predominance

requirement was met by class of claimants who purchased vehicles

with allegedly defective engines).   The beverages at issue in

these appeals were not defective; instead, it appears that those

beverages were precisely what the customers ordered.

Accordingly, plaintiffs do not contend that they are entitled to

a refund of money spent on a worthless or deficient item.

    Instead, the Dugan plaintiffs contend that they were

charged an excessive price for the alcoholic and non-alcoholic

beverages that they purchased at defendants’ restaurants.   Their

predominance claim is complicated by the fact that the products

at issue are beverages sold in restaurants at a range of prices

and purchased by consumers with divergent motivations, beverage

preferences, and budgetary constraints.

    The Dugan plaintiffs do not represent that they can present

individualized proof that every claimant in their multi-million-

                               35
member class would have purchased fewer or less expensive

beverages, or none at all, had TGIF informed him or her of the

beverage prices.8   Instead, citing breach of contract law, they

propose classwide proofs of ascertainable loss and causation.

They seek to predicate a uniform finding of ascertainable loss

and causation on the difference between what they contend would

be “fair” or “reasonable” prices for beverages and the prices

that TGIF actually charged.   Although TGIF’s market research

involved only a small number of consumer subjects, plaintiffs

seek to extend the results of that research to the beverage




8  We do not share our dissenting colleague’s conclusion that
plaintiffs have proven a CFA violation in the Dugan case. See
post at ___ (slip op. at 7) (attributing to TGIF a “cynical
corporate policy of profiteering from violating” the CFA); post
at 13 (contending that TGIF maintains a “corporate policy of
willful disregard of the CFA”); post at ___ (slip op. at 16)
(citing TGIF’s apparent “business decision not to list beverage
prices for the sake of higher profits, notwithstanding that its
policy violated the CFA”); post at ___ (slip op. at 24) (citing
a “corporate policy of ignoring provisions of the CFA”). TGIF
has not stipulated that it violated the CFA. No jury has
considered the Dugan plaintiffs’ claims, let alone rendered a
verdict for plaintiffs. No trial court has entered summary
judgment in plaintiffs’ favor in the Dugan case. Only a motion
to dismiss was denied by the trial court, and that action was
affirmed by the Appellate Division. We do not review that
determination in these appeals. Our role in this case is to
review the trial courts’ class certification decisions, not to
act as a factfinder with respect to plaintiffs’ substantive
claims.


                                36
purchases of their entire class.9   The Dugan plaintiffs urge the

Court to conclude, based on that theory of ascertainable loss

and damages, that common issues of law and fact predominate over

individual issues, as Rule 4:32-1(b)(3) requires.

     In some settings in which a contract’s price term is

undefined, our law authorizes the court to determine what would

constitute a reasonable price and calculate damages accordingly.

See N.J.S.A. 12A:2-305(1) (stating factors to determine “a

reasonable price” when “[t]he parties conclude[d] a contract for

sale even though the price [was] not settled”); Wilson v.

Amerada Hess Corp., 168 N.J. 236, 240, 254 (2001) (remanding to

allow more discovery on issue of good faith in case in which

price term was left open); Truex v. Ocean Dodge, Inc., 219 N.J.

Super. 44, 50-52 (App. Div. 1987) (finding lack of price


9  The Dugan plaintiffs suggest that a figure set forth in TGIF’s
marketing research, $1.72, would represent the difference
between the average price charged by TGIF for a beverage and a
“fair” or “reasonable” price that should have been charged for
that beverage, and would therefore be the measure of a class
member’s ascertainable loss. The Dugan plaintiffs misconstrue
the import of the figure of $1.72 that appears in TGIF’s
marketing research. Based on the limited record on that market
research, it does not appear that the $1.72 figure set forth in
the research documents related to the price charged for a single
beverage. Instead, that figure evidently represented the
difference between the average amount of money that the research
subject customers, who were not informed about beverage prices,
would spend on a given restaurant visit and the average amount
that the research subject customers, who were informed about
beverage prices, would spend on a visit.

                               37
agreement did not indicate lack of contract and remanding for

determination of damages).

    Those principles, however, cannot simply be extrapolated

from a specific contract dispute, in which a court hears

evidence of the parties’ intent, to a class action CFA claim

involving millions of beverage purchases.    Significantly, the

able counsel for the parties and amici cite no decisions in

which a theory analogous to that proposed by the Dugan

plaintiffs has been accepted as a method of proving

ascertainable loss and causation in a CFA class action.     To the

contrary, our case law has consistently rejected “price-

inflation” theories -- closely related to fraud on the market

theories -- as a substitute for proof of ascertainable loss or

causation in CFA claims.

    We first considered a “fraud-on-the-market” theory in a

class action setting in Kaufman v. i-Stat Corp., 165 N.J. 94
(2000).   In Kaufman, the plaintiff class allegedly “purchased

securities in the secondary markets at attractive prices that

had been artificially affected by an issuer’s misrepresentations

and omissions.”   Id. at 97.   The plaintiffs sought to prove

reliance, an element of their common-law fraud claim, by

demonstrating that the defendant’s misrepresentations and



                                 38
omissions resulted in an inflated share price that all class

members had paid for the securities.      Ibid.

    Rejecting the Kaufman plaintiffs’ fraud-on-the-market

theory, we noted that plaintiffs in certain federal securities-

fraud class actions may collectively prove reliance based on

evidence that the defendant’s fraudulent conduct affected the

price of the securities at issue.      Id. at 103-08 (citing Basic

Inc. v. Levinson, 485 U.S. 224, 108 S. Ct. 978, 99 L. Ed. 2d 194
(1988)).   We analyzed the extensive federal and state case law

and academic research rejecting the fraud-on-the-market theory

outside of the securities-fraud context in which the theory

arose.   Id. at 113-18.    We concluded that

           [a]ccepting fraud on the market as proof of
           reliance in a New Jersey common-law fraud
           action would undercut the public interest in
           preventing forum-shopping, weaken our law of
           indirect reliance, and run contrary to the
           policy direction of the Legislature and
           Congress.    We decline to expand our law
           regarding satisfaction of the reliance element
           of a fraud action on the basis of a complex
           economic    theory   that    has   not    been
           satisfactorily proven.

           [Id. at 118.]

    In International Union, supra, we applied that principle in

the setting of a CFA claim in which plaintiffs had the burden of

proving ascertainable loss and causation, but not reliance.      192

N.J. at 392.   There, the class representative plaintiff asserted

                                  39
that the putative class of third-party pharmaceutical benefit

payors had paid more for the prescription drug Vioxx because the

defendant’s allegedly fraudulent marketing had driven up the

price of the drug.    Id. at 390.    The plaintiffs proposed to

prove ascertainable loss and causation for the class as a whole

by demonstrating the extent of that price inflation.      Id. at

392.
       Noting that, in Kaufman, a fraud-on-the-market theory was

“rejected . . . as being inappropriate in any context other than

federal securities fraud litigation,” we declined to accept, as

a method of classwide proof, the plaintiffs’ theory “that the

price charged for Vioxx was higher than it should have been as a

result of defendant’s fraudulent marketing campaign.”       Ibid.   We

observed that
           [p]laintiff argues that it should be permitted
           to demonstrate classwide damages through use
           of a single expert who would opine about the
           effect on pricing of the marketing campaign in
           which defendant engaged. To the extent that
           plaintiff intends to rely on a single expert
           to establish a price effect in place of a
           demonstration of an ascertainable loss or in
           place of proof of a causal nexus between
           defendant’s acts and the claimed damages,
           however, plaintiff’s proofs would fail. That
           proof theory would indeed be the equivalent of
           fraud on the market, a theory we have not
           extended to CFA claims.

           [Id. at 392.]


                                    40
    Other courts have similarly rejected class representatives’

contentions that ascertainable loss and causation could be

proven for a class in a CFA case on the theory that the

defendants’ unlawful practices enabled them to charge more for

the goods sold, affecting every member of the class.   In N.J.

Citizen Action, supra, the panel affirmed the dismissal of a

putative class action in which plaintiffs asserted a “fraud on

the market or price inflation theory,” based on the allegation

that defendant’s allegedly fraudulent direct-to-consumer

marketing caused class members to pay “artificially inflated

prices.”   367 N.J. Super. at 12-14.   The court noted that the

plaintiffs’ theory would effectively eliminate the ascertainable

loss and causation requirements that differentiate consumer CFA

claims from Attorney General enforcement actions under the

statute.   Id. at 16.
    In Dabush v. Mercedes-Benz USA, LLC, 378 N.J. Super. 105,

123 (App. Div.), certif. denied, 185 N.J. 265 (2005), another

Appellate Division panel rejected a class plaintiff’s theory

that all members of the class of lessors had paid an inflated

price for a vehicle model’s navigation system, and that this

inflated price constituted the entire class’s ascertainable

loss:



                                41
          Though couched in different terms, plaintiff
          advances the same “price-inflation” theory
          that we rejected in [N.J. Citizen Action]. He
          claims he paid for the lease of a vehicle that
          he expected to contain a navigation system
          that had    all roads and highways and,
          therefore, he must have paid a higher price
          for the less effective product which did not
          contain full coverage of every road. Adopting
          this theory of ascertainable loss would
          “fundamentally alter the concept of causation
          in the CFA context,” and would effectively
          afford private citizens rights that the
          Legislature has expressly reserved for the
          Attorney General.

          [Id. at 123 (citing N.J. Citizen         Action,
          supra, 367 N.J. Super. at 16).]

    In Fink v. Ricoh Corp., 365 N.J. Super. 520, 537, 545-47

(Law Div. 2003), the court declined to certify a nationwide

class to pursue CFA and other claims against the manufacturer of

a digital camera that was allegedly marketed with misleading

promotional materials.     The court rejected the plaintiffs’

suggestion that they could prove ascertainable loss and

causation for all class members -- whether or not they had ever

viewed the promotional materials -- based on the promotional

materials’ alleged impact on the demand for and price of the

camera.   Id. at 551-55.    The court noted the lack of case law

“approv[ing] the ‘price inflation’ theory as an accepted means

of proving proximate cause or an ascertainable loss under the

[CFA] or any comparable consumer fraud statute,” and concluded


                                  42
“that the price inflation theory is not relevant to the issue of

proximate cause and is too speculative to establish an

ascertainable loss.”     Id. at 554.
    Applying the CFA and its Delaware counterpart, the United

States Court of Appeals for the Third Circuit recently rejected

a putative class’s price-inflation theory of ascertainable loss

and causation.   In Harnish v. Widener University School of Law,

833 F.3d 298, 309-13 (3d Cir. 2016), the proposed class

consisted of law students claiming that they paid higher tuition

because of the defendant law school’s allegedly misleading

graduate employment statistics.        Id. at 302.   The plaintiffs

sought to avoid the necessity of proving the impact of the

allegedly false statistics on individual class members’

educational choices by arguing that “the misrepresentations

empowered [the law school] to charge more across the entire

market.”   Id. at 312.
    Affirming the district court’s decision not to certify the

class, the Third Circuit concluded that the district court had

improperly labeled the plaintiff’s theory of classwide proof a

“fraud-on-the-market” theory and that plaintiffs’ contention was

more accurately described as a “price-inflation theory.”         Id. at

312-13.    Citing International Union and other New Jersey and

Delaware consumer-fraud case law, the Third Circuit found the

                                  43
distinction “immaterial because the state courts have refused to

recognize either theory outside the federal securities fraud

context.”    Id. at 313.
    The Dugan plaintiffs similarly seek to predicate a

classwide finding of ascertainable loss and causation on a

“price-inflation” theory, premised on the contention that TGIF’s

unlawful pricing practices empowered it to overcharge its

customers.   They postulate that by virtue of its policy of

leaving beverage prices off its menu, TGIF was able to inflate

beverage prices across its market without reducing customer

demand.

    As we determined in International Union and the Third

Circuit decided in Harnish, the proposed price-inflation theory

does not establish ascertainable loss and causation in this CFA

class action case.    Individual plaintiffs may be able to

establish ascertainable loss and causation by showing that they

would not have purchased the beverages or would have spent less

money on them had they been informed of their cost.      The Dugan

plaintiffs cannot establish ascertainable loss and causation,

however, by demonstrating that TGIF’s beverage prices were

higher than they would have been had TGIF listed its prices on

its restaurant menus.      A “fair” or “reasonable” price derived

from the per-visit expenditures of marketing research subjects

                                   44
is no substitute for proof of the actual claimants’

ascertainable loss and causation.    Plaintiffs’ price-inflation

theory does not globally establish those elements of the CFA for

the vast and varied class of restaurant customers for which the

Dugan plaintiffs seek certification.10

     Other than to distinguish these appeals from this Court’s

decision in International Union because the plaintiffs relied on

a single expert in that case, post at      (slip op. at 18), our

dissenting colleague does not address the authority clearly

establishing that plaintiffs’ price-inflation theory cannot give

rise to classwide proof of ascertainable loss and causation.

Int’l Union, supra, 192 N.J. at 391-92; N.J. Citizen Action,

supra, 367 N.J. Super. at 12-14; Dabush, supra, 378 N.J. Super.

at 123; see also Harnish, supra, 833 F.3d 298, 309-13.    Instead,

our colleague mischaracterizes our holding as a global rejection

of statistical evidence in class actions, thus refuting a



10 The Dugan plaintiffs suggest that members of the class who
cannot establish ascertainable loss and causation can be
identified and excluded from the class in the post-verdict
claims process. However, plaintiffs’ burden is to demonstrate
that the class members’ CFA claims can be proven with common
issues predominating over individual questions of fact and law,
and they cannot rely on the post-verdict claims process as a
substitute for competent proof in a fair trial. See R. 4:32-
1(b)(3) (requiring finding that class action is superior method
“for the fair and efficient adjudication of the controversy”).


                                45
proposition that we simply do not assert.   Post at ___ (slip op.

at 13-16).

    In that regard, our dissenting colleague relies on three

decisions:   the United States Supreme Court’s opinion in Tyson

Foods, Inc. v. Bouaphakeo, 577 U.S. ___, ___, 136 S. Ct. 1036,

1046, 194 L. Ed. 2d 124, 134-35 (2016), and two federal district

court decisions, In re Scotts EZ Seed Litigation, 304 F.R.D. 397
(S.D.N.Y. 2015) and Goldemberg v. Johnson &amp; Johnson Consumer

Cos., 317 F.R.D. 374 (S.D.N.Y. 2016).   Post at    (slip op. at

13-16).   None of those decisions bears the slightest

relationship to the issues presented by these appeals.

    Tyson Foods was an appeal of a judgment in favor of a class

of meat processing plant employees who alleged that the

defendant employer violated the Fair Labor Standards Act, 29

U.S.C.A. § 201 to -209, by failing to pay the employees overtime

for the time that they spent donning and doffing protective

equipment.   577 U.S. at ___ 136, S. Ct. at 1045, 194 L. Ed. 2d

at 133.   Rejecting the defendant’s challenge to the jury’s

verdict, the Supreme Court held that the trial court had

properly permitted the plaintiffs to rely on employee testimony,

video recordings and an expert’s study regarding the average

time that “various donning and doffing activities took” in the

defendant’s plant.   Id. at ___, 136 S. Ct. at 1043, 194 L. Ed.

                                46
2d at 132.   The plaintiffs’ use of fact and expert testimony in

Tyson Foods to demonstrate the time consumed by the donning and

doffing activities at issue is simply unrelated to the price-

inflation theory that the Dugan plaintiffs seek to assert as a

classwide substitute for that proof of ascertainable loss and

causation that the CFA requires.

       The federal district court’s decision in Scotts EZ Seed

arose in a setting very different from that of Dugan:      consumer

claims premised on New York and California false advertising

law.   There, the plaintiffs asserted two contentions against the

defendant manufacturer of grass seed advertised as capable of

growing grass “50% Thicker with Half the Water”: that “nobody

was able to grow grass using EZ Seed,” and that the plaintiffs

had “paid an inappropriate premium for EZ Seed based on Scotts’

allegedly false 50% thicker claim.”   304 F.R.D. at 408-09.      The

district court held that the alleged falsity of the contested

advertising claim was subject to generalized proof, and that

under the governing New York statute harm could be proven

classwide based on plaintiffs’ alleged purchase of a “worthless

product” or payment of a premium “based on the false 50% thicker

claim.”   Id. at 409.   The district court construed the

California false advertising statute not to require

individualized proof of causation “because causation as to each

                                 47
class member is commonly proved more likely than not by [the]

materiality” of the false claim.      Id. at 410 (quoting Guido v.

L’Oreal, USA, Inc., 284 F.R.D. 468, 482 (C.D. Cal. 2012)).

Thus, the district court’s determination that common issues of

fact and law predominated in Scotts EZ Seed derived from the

contention that every member of the class was damaged by an

economic decision that he or she would not have made but for the

false advertising:   the purchase of a product alleged to be, at

a minimum, incapable of performing as advertised, or entirely

worthless.   Ibid.   That uniform consumer choice -- allegedly

prompted by a single false advertising claim directly material

to the value of the product -- stands in stark contrast to the

class members’ disparate decisions to purchase beverages at

restaurants in the Dugan case.

    Finally, our dissenting colleague relies on a decision

involving alleged mislabeling, Goldemberg, supra, 317 F.R.D. at

385-94.   There, the district court applied New York, California

and Florida law to the plaintiffs’ claims that the defendant’s

Aveeno products were falsely labeled “Active Naturals®” because

they “contain unnatural, synthetic ingredients.”      Id. at 382.
The court premised its class action predominance determination

on New York, California, and Florida case law addressing a

method of proving damages for all claimants in a false-

                                 48
advertising class:    a computation of the “price premium” of

mislabeling, measured as “the difference between the cost of the

second best product in the product class (without a deceiving

label) and the cost of the product at issue (with the label).”

Id. at 394.   Even under the law of the states at issue in

Goldemberg, the “price premium” theory of classwide proof

addressed by the district court would have no place in a CFA

claim premised on the claimants’ purchases of millions of

beverages, none of which is alleged to have been mislabeled or

falsely advertised.    The Goldemberg case is simply irrelevant

here.

    In short, the decisions cited by our dissenting colleague

do not in any respect undermine the authority on which we rely

to reject the Dugan plaintiffs’ price-inflation claims.

    Accordingly, we concur with the Appellate Division panel

that the Dugan plaintiffs failed to establish, with respect to

their CFA claim, that “the questions of law or fact common to

the members of the class predominate over any questions

affecting only individual members.”    R. 4:32-1(b)(3).   We do not

reach the question whether the Dugan plaintiffs satisfied the

remaining requirements of Rule 4:32-1.    We hold that the panel

properly reversed the trial court’s certification of a class

with respect to that claim.

                                 49
                                2.

    We apply the standard of Rule 4:32-1 to the CFA claims

asserted in Bozzi v. OSI Restaurant Partners, LLC.   For purposes

of that inquiry, we assume the truth of Bozzi’s allegations

regarding OSI’s alleged practices and his testimony regarding

his beverage purchases at an OSI restaurant.   See Lee, supra,

203 N.J. at 505; Iliadis, supra, 191 N.J. at 96.

    Before this Court, Bozzi did not assert that he could prove

ascertainable loss and causation on behalf of his proposed class

through the use of a price-inflation theory such as the theory

asserted in Dugan.   Instead, he focused on a category of OSI

restaurant customers identified as a subclass in his original

complaint:   customers who, in the course of a single visit to an

OSI restaurant, were charged different prices for beverages of

the same brand, type, and volume.    Bozzi represents that, in

discovery, OSI produced receipts documenting the prices paid by

each class member who makes the price-shifting claim and that he

is therefore in a position to prove that OSI charged each

claimant two different prices for the same beverage in a single

visit.   Bozzi also states that he can demonstrate that class

members were unaware that after purchasing a beverage at one

price, they would be charged more for a second or subsequent

beverage.

                                50
     For purposes of class certification analysis, we do not

determine whether Bozzi’s price-shifting allegations, if proven,

would give rise to a CFA violation.   That claim has not yet been

challenged in a motion to dismiss or summary judgment motion,

and the merits of that claim are not before the Court in these

appeals.   Iliadis, supra, 191 N.J. at 107; Olive v. Graceland

Sales Corp., 61 N.J. 182, 189 (1972).   We consider only whether

Bozzi’s proposed class for purposes of his CFA claim, as limited

to customers who ordered more than one beverage on a visit to an

OSI restaurant and were charged a higher price for the second or

subsequent beverage of the same brand, type, and volume,11 meets

the standard of Rule 4:32-1.

     With respect to Bozzi’s price-shifting CFA claim, the

proposed class satisfies the four requirements of Rule 4:32-

1(a).   The class clearly includes numerous claimants.12   In

Bozzi’s CFA claim, there are common questions of fact relating

to OSI’s pricing practices and at least one common question of


11 The “volume” of a beverage may be measured in ounces, in
pints or half-pints, or in other units.

12 During oral argument, Bozzi’s counsel stated that the
proposed class consists of two hundred sixty-three thousand OSI
restaurant customers. It is unclear whether that estimate
applies to the entire class certified by the trial court or to
the more limited class of claimants who assert the price-
shifting CFA claim.


                                51
law -- whether increasing the price of a beverage during a

customer’s restaurant visit without informing the customer

constitutes an unlawful practice under N.J.S.A. 56:8-2.     When

the class’s allegations are limited to the price-shifting CFA

claim, Bozzi’s claim is typical of the claims asserted by the

class; supported by a receipt, Bozzi contends that during a 2010

visit to the Carrabba’s restaurant in Maple Shade, he was

charged two different prices for Peroni beers, the second price

higher than the first.     Finally, the record indicates that “the

representative parties will fairly and adequately protect the

interests of the class.”    R. 4:32-1(a).

     As limited, Bozzi’s CFA claim also satisfies Rule 4:32-

1(b)(3)’s predominance requirement.13    With the assistance of

claimant-specific records, both parties will be in a position to

determine the dates and locations of the visits at issue and may

be able to identify the reasons for the inconsistent prices.

Even if discovery proves that the price disparity alleged by the

class derived not from a single corporate policy but from

restaurant-specific happy hour or other pricing practices, the


13 Bozzi’s contention regarding predominance is limited to
claimants who can demonstrate that they paid different prices
for the same brand, type, and volume of beverage in the same
visit to an OSI restaurant. He has not identified any method of
proving ascertainable loss and causation for other members of
the class certified by the trial court.

                                  52
trial court may be in a position to evaluate the disputed

practices on a restaurant-by-restaurant basis.     If plaintiffs

prove an unlawful practice under the CFA, the receipts, in

combination with other evidence, may support a finding of

ascertainable loss and causation.     The trial court would clearly

be confronted with the task of adjudicating individual

questions, but the existence of individual questions does not

preclude a finding of predominance.     See Lee, supra, 203 N.J. at

526-28 (finding predominance notwithstanding existence of

individual questions); Cadillac, supra, 93 N.J. at 430-35

(same).

    Such a class would also satisfy the requirement that a

class action provide a superior method “for the fair and

efficient adjudication of the controversy.”     R. 4:32-1(b)(3);

see also Iliadis, supra, 191 N.J. at 114-15 (noting superiority

inquiry involves informed consideration of alternative available

methods of adjudication of each issue, comparison of fairness of

class action and alternative methods, and comparison of

efficiency of each method).   Bozzi’s price-shifting CFA claim

involves modest individual claims that are unlikely to be

brought in an alternative forum.     See Iliadis, supra, 191 N.J.

at 104 (“[T]he class action’s equalization function opens the



                                53
courthouse doors for those who cannot enter alone.”).     Those

claims would not be efficiently resolved on an individual basis.

    Importantly, the certification of the class as limited will

not deprive OSI of the opportunity to evaluate and respond to

plaintiffs’ allegations.     Based on Bozzi’s representation, it

appears that the parties have documents indicating where and

when each class member was charged disparate prices for the same

brand, type, and volume of beverage on the same restaurant

visit.   OSI will be in a position to contest plaintiffs’

allegations of unlawful practices under the CFA with respect to

the prices imposed by individual restaurants at various times.

It may argue in a summary judgment motion, and/or at trial, that

a given restaurant’s beverage pricing or the restaurants’

practices as a whole did not violate the CFA.     A limited class

may be certified without compromising the fairness of the

proceeding.   Bozzi’s proposed CFA class action meets Rule 4:32-

1’s requirement of superiority.

    In sum, Bozzi has met the requirements for class

certification with respect to his CFA claim, if the class is

limited to claimants who were charged different prices for

beverages of the same brand, type, and volume in the course of

the same restaurant visit.     We therefore reverse the trial

court’s class certification order and remand for the

                                  54
certification of a redefined class.   See Muise, supra, 371 N.J.

Super. at 19, 64 (affirming trial court’s decertification of

class and remanding for certification of “more limited . . .

class of customers [of electrical utility] whose outages

directly resulted from the alleged negligence in delaying the

replacement of transformers at the [utility’s] Red Bank

substation”).

     The trial court should define the class as follows:

          All persons who ordered more than one beverage
          of the same brand, type, and volume during a
          single visit to an OSI Restaurant Partners,
          LLC, or Bloomin’ Brands, Inc., restaurant in
          New Jersey from January 23, 2004 to the
          present date, and were charged a higher price
          for a second or subsequent beverage of the
          same brand, type, and volume ordered during
          the same visit, without notice of the change
          in prices.

     On remand, the trial court should certify the class solely

for the purpose of pursuing CFA claims based upon the defendant

restaurants’ alleged practice of charging a customer different

prices for beverages of the same brand, type, and volume during

the same restaurant visit.14


14 The trial court should also vacate the injunction, requiring
OSI restaurants to include prices for all beverages on its
menus, that was entered following its certification of the class
based on the claims of that entire class. OSI challenged that
injunction in this appeal, and Bozzi offered no argument in
support of the trial court’s injunctive relief. Following
certification of the more limited class set forth above, the

                               55
                                V.

                                A.

    The second statutory claim asserted by the putative classes

in both appeals is based on the TCCWNA.   That statute was

enacted in 1981 “to prevent deceptive practices in consumer

contracts.”   Kent Motor Cars, Inc. v. Reynolds &amp; Reynolds Co.,

207 N.J. 428, 457 (2011).   The Legislature observed that

         [f]ar too many consumer contracts, warranties,
         notices and signs contain provisions which
         clearly violate the rights of consumers. Even
         though these provisions are legally invalid or
         unenforceable, their very inclusion in a
         contract, warranty, notice or sign deceives a
         consumer   into   thinking   that   they   are
         enforceable, and for this reason the consumer
         often fails to enforce his rights.

         [Sponsor’s Statement to A. 1660 2 (1980).]

    As TCCWNA’s legislative history reflects, the Legislature

“did not recognize any new consumer rights but merely imposed an

obligation on sellers to acknowledge clearly established

consumer rights and provided remedies for posting or inserting

provisions contrary to law.”   Shelton v. Restaurant.com, Inc.,

214 N.J. 419, 432 (2013) (citing N.J.S.A. 56:12-15 to -16); see

also Alloway v. Gen. Marine Indus., L.P., 149 N.J. 620, 641

(1997) (setting forth purpose and provisions of TCCWNA).


trial court may consider any application for injunctive relief
made on behalf of that class.

                                56
    The TCCWNA provides in part:

         No seller, lessor, creditor, lender or bailee
         shall in the course of his business offer to
         any consumer or prospective consumer or enter
         into any written consumer contract or give or
         display any written consumer warranty, notice
         or sign after the effective date of this act
         which includes any provision that violates any
         clearly established legal right of a consumer
         or responsibility of a seller, lessor,
         creditor, lender or bailee as established by
         State or Federal law at the time the offer is
         made or the consumer contract is signed or the
         warranty, notice or sign is given or
         displayed.

         [N.J.S.A. 56:12-15.]

    The TCCWNA imposes a range of remedies against a defendant

who violates the statute:

         Any person who violates the provisions of this
         act shall be liable to the aggrieved consumer
         for a civil penalty of not less than $100.00
         or for actual damages, or both at the election
         of the consumer, together with reasonable
         attorney’s fees and court costs. This may be
         recoverable by the consumer in a civil action
         in a court of competent jurisdiction or as
         part of a counterclaim by the consumer against
         the seller, lessor, creditor, lender or bailee
         or assignee of any of the aforesaid, who
         aggrieved him. A consumer also shall have the
         right to petition the court to terminate a
         contract which violates the provisions of
         [N.J.S.A. 56:12-15] and the court in its
         discretion may void the contract.

         [N.J.S.A. 56:12-17.]

    Two requirements of the TCCWNA are relevant to the class

certification issues raised on these appeals.   First, in order

                                57
to obtain a remedy under the TCCWNA, a plaintiff must be an

“aggrieved consumer” –- a consumer who satisfies the elements of

the TCCWNA.   N.J.S.A. 56:12-17.    The TCCWNA defines “consumer”

as “any individual who buys, leases, borrows, or bails any

money, property or service which is primarily for personal,

family or household purposes.”     N.J.S.A. 56:12-15.

    The TCCWNA does not specifically define what makes a

“consumer” an “aggrieved consumer” for purposes of N.J.S.A.

56:12-17.   In several settings, however, courts have examined

the interaction between the parties and the nature of the

contract or other writing in order to determine whether a

plaintiff is entitled to relief under the TCCWNA.       See, e.g.,

Manahawkin Convalescent v. O’Neill, 217 N.J. 99, 125-26 (2014)

(analyzing TCCWNA claim in case involving nursing home and

third-party payment guarantors); Shelton, supra, 214 N.J. at

436-42 (concluding that TCCWNA applies to transactions between

plaintiffs and internet seller of restaurant coupons and

certificates based on detailed analysis of transactions); United

Consumer Fin. Servs. Co. v. Carbo, 410 N.J. Super. 280, 306

(App. Div. 2009) (applying TCCWNA when retail installment sales

contract contravened provisions of Retail Installment Sales

Act); Bosland v. Warnock Dodge, Inc., 396 N.J. Super. 267, 278-



                                   58
79 (App. Div. 2007) (applying TCCWNA to dealership’s

registration overcharges), aff’d, 197 N.J. 543, 562 (2009).

    Second, in order to be found liable under the TCCWNA, a

defendant must have violated a “clearly established legal right”

or “responsibility.”   N.J.S.A. 56:12-15.   To make that

determination, courts assess whether the CFA or another consumer

protection statute or regulation clearly prohibited the

contractual provision or other practice that is the basis for

the TCCWNA claim.   See, e.g., Mladenov v. Wegmans Food Mkts.

Inc., 124 F. Supp. 3d 360, 380 (D.N.J. 2015) (holding that

plaintiffs who failed to state viable claims under CFA or

federal food labeling regulation established no violation of

“clearly established legal right” under TCCWNA); United Consumer

Fin. Servs., supra, 410 N.J. Super. at 306-07   (applying TCCWNA

based on violation of “clearly established” right under Retail

Installment Sales Act, N.J.S.A. 17:16C-50); Bosland, supra, 396

N.J. Super. at 278-80 (holding that plaintiff presented prima

facie proof that defendant dealership that overcharged car

buyers for vehicle registration fee in contravention of consumer

regulation violated “clearly established” right).

    The “clearly established” standard accordingly requires a

case-specific evaluation whether a “written consumer contract[,]

. . . warranty, notice or sign” violates a legal right or

                                59
responsibility that was “clearly established” by “State or

Federal law at the time the offer is made or the consumer

contract is signed or the warranty, notice or sign is given or

displayed.”   N.J.S.A. 56:12-15.    That inquiry may give rise to

different results, depending on the timing of the offer,

contract, or warranty.   Ibid.; see, e.g., Mattson v. Aetna Life

Ins. Co., 124 F. Supp. 3d 381, 393 (D.N.J. 2015) (ruling that

plaintiff’s asserted statutory right not to be subjected to

subrogation claim was not “clearly established” when allegedly

offending notices were sent).

                                   B.

     Against that backdrop, we consider whether the trial courts

properly applied Rule 4:32-1’s predominance requirement when

they certified the classes proposed by the Dugan plaintiffs and

by Bozzi for adjudication of their respective TCCWNA claims.15

We do not determine whether a defendant restaurant’s


15 We do not reach the broader issue, raised by amici curiae New
Jersey Civil Justice Institute and New Jersey Business and
Industry Association but not by any party, whether class
certification should ever be granted as a method of adjudicating
a TCCWNA claim. See State v. Lazo, 209 N.J. 9, 25 (2012) (“As a
general rule, an amicus curiae must accept the case before the
court as presented by the parties and cannot raise issues not
raised by the parties.” (quoting Bethlehem Twp. Bd. of Educ. v.
Bethlehem Twp. Educ. Ass’n, 91 N.J. 38, 48-49 (1982))); accord
State v. O’Driscoll, 215 N.J. 461, 479 (2013); State v. Gandhi,
201 N.J. 161, 191 (2010).


                                   60
presentation of a menu that omits beverage prices gives rise to

a TCCWNA claim.   In the predominance inquiry, however, we look

beyond the pleadings and examine the factual and legal bases of

plaintiffs’ TCCWNA claim.   See Lee, supra, 203 N.J. at 526-28

(applying predominance standard to CFA claim); Iliadis, supra,

191 N.J. at 107 (establishing requirements of predominance in

class certification analysis); see also In re Hydrogen Peroxide

Antitrust Litig., 552 F.3d 305, 310-12 (3d Cir. 2008) (analyzing

predominance in context of antitrust case).

    In these appeals, plaintiffs contend that by failing to

list prices for beverages on the menus, the defendant

restaurants violated plaintiffs’ “clearly established” legal

rights and defendants failed to meet their “clearly established”

legal responsibilities under N.J.S.A. 56:8-2.5; they contend

that the statute required defendants to “plainly mark” the

beverages that they sold “by a stamp, tag, label or sign” in the

location where the beverages were offered for sale.   Plaintiffs

assert that when the defendant restaurants’ employees presented

menus to members of the putative TCCWNA class, they “offer[ed]”

contracts that violated N.J.S.A. 56:8-2.5 to those consumers.

Plaintiffs seek an award of damages and the imposition of $100

per violation civil penalties on defendants for each alleged

TCCWNA violation.

                                61
    We conclude that plaintiffs have not met the predominance

requirement of Rule 4:32-1 with respect to their TCCWNA claims

in either appeal.   First, the requirement that a plaintiff be an

“aggrieved consumer” in order to pursue a TCCWNA claim gives

rise to a range of individual questions regarding the

interaction between the customer and the server in this case.

By its very terms, the TCCWNA addresses “contract[s],”

“warrant[ies],” “notice[s],” and “sign[s]” and does not apply

when a defendant fails to provide the consumer with a required

writing.   N.J.S.A. 56:12-15; see also Jefferson Loan Co. v.

Session, 397 N.J. Super. 520, 540-41 (App. Div. 2008).    Here,

the writing on which plaintiffs rely is the restaurant menu.

Plaintiffs concede that, at a minimum, a claimant must prove

that he or she was presented with a menu during his or her visit

to the defendants’ restaurant in order to establish the

defendant’s liability under the TCCWNA.   That critical inquiry

cannot be resolved by customer receipts or other documents.

Even if we accept plaintiff’s theory of liability under the

TCCWNA, the testimony of the individual claimant or another

witness would be necessary to prove that the plaintiff satisfies

the statute’s requirements and is thus an “aggrieved consumer.”

    Contrary to plaintiffs’ suggestion, they cannot meet their

burden under TCCWNA by presenting evidence that TGIF servers

                                62
were instructed to hand menus to customers.16    The training

documents on which plaintiffs rely do not prove that any

individual consumer received a menu, much less demonstrate the

critical interaction between any single member of the putative

class and the allegedly offending menu.   Moreover, we do not

agree with the Dugan plaintiffs that the post-verdict claims

process provides an appropriate forum for determining an element

that is essential to liability under the TCCWNA.     Under the

TCCWNA, plaintiffs have the burden to prove the statute’s

elements at trial.   N.J.S.A. 56:12-15, -17.

     Accordingly, a claimant who does not, at a minimum, prove

that he or she received a menu cannot satisfy the elements of

TCCWNA and is not an “aggrieved consumer.”     In that critical



16 Our dissenting colleague contends that plaintiffs are
entitled to an inference “that TGIF’s servers complied with
corporate policy and that patrons received menus.” Post at ___
(slip op. at 21). In the predominance inquiry, we do not simply
accept a class plaintiff’s contention that an element of their
claim can be proven for the class as a whole with a single piece
of evidence; instead, we subject that claim and other aspects of
the case to a “rigorous analysis.” Iliadis, supra, 191 N.J. at
106-07 (citations omitted). Here, not even plaintiffs contend
that an indication in training documents that servers were
instructed to hand customers menus is proof of a universal
practice; they concede that not all customers received the menu
that is the foundation of their TCCWNA claims. TGIF’s training
documents do not obviate the need for plaintiffs to prove -- for
each claimant -- the contention at the core of their TCCWNA
claim: the customers’ receipt of a writing that violated that
statute. N.J.S.A. 56:12-15.

                                63
regard, individual questions would predominate over common

issues at trial.

    Second, the question whether the defendant restaurants

violated a “clearly established legal right” or a “clearly

established . . . legal responsibility” raises the specter of

disparate results for different members of the class.     The sole

published decision construing the source of plaintiffs’ asserted

“right,” N.J.S.A. 56:8-2.5, addresses a used car dealership’s

sale of vehicles without posting their prices on or near them in

the dealership’s lot.    In re Johnny Popper, Inc., supra, 413

N.J. Super. at 583.     No published opinion holds that N.J.S.A.

56:8-2.5 prohibits restaurants and other food service businesses

from offering food or beverages to customers without listing the

prices for those items on their menu.    Moreover, as plaintiffs

acknowledge, many food-service businesses in New Jersey --

ranging in size from corporate chain restaurants to family-owned

delicatessens and diners -- routinely offer customers food and

beverage specials and other items without designating in writing

the prices for those items.    Although N.J.S.A. 56:8-2.5 has been

in effect for several decades, there is no evidence that the

Attorney General, charged to enforce the CFA, has ever taken the

position that N.J.S.A. 56:8-2.5 requires the prices of all food

and beverages served in restaurants to be listed on menus.     In

                                  64
short, nothing in the record suggests that N.J.S.A. 56:8-2.5 was

previously invoked against the restaurant practices at issue in

this case.

    The Dugan plaintiffs maintain that even if their legal

rights and TGIF’s responsibilities under N.J.S.A. 56:8-2.5 were

not “clearly established” before they brought their claims,

those rights and responsibilities were confirmed when an

Appellate Division panel affirmed the trial court’s denial of

TGIF’s motion to dismiss in an unpublished decision.   They

contend that, in the wake of that decision, N.J.S.A. 56:8-2.5’s

application to restaurant menus was “clearly established” for

purposes of TCCWNA.

    In its 2011 decision, however, the Appellate Division did

not hold that TGIF violated the Dugan plaintiffs’ “clearly

established” right within the meaning of TCCWNA.   The panel

determined only that plaintiff Dugan adequately pled violations

of the CFA and TCCWNA under the lenient standard of Rule 4:6-

2(e); it properly noted that “[w]hether [Dugan] can prove any,

or all, of that is not before us.”   Even if that decision could

fairly be construed to clearly establish plaintiffs’ rights

under N.J.S.A. 56:8-2.5, it would not apply to all members of

the Dugan plaintiffs’ class, which at plaintiffs’ request was

defined to include claimants who visited restaurants from 2004

                               65
to the present.   Plaintiffs have not established predominance

with respect to that element of their TCCWNA claim.

    Moreover, even if a menu lacking beverage prices were to

constitute a “contract,” “warranty,” “notice” or “sign” within

the meaning of TCCWNA, it is far from clear that the statute was

intended to apply as plaintiffs contend that it should.     As the

Dugan plaintiffs concede, if plaintiffs were to prove that each

of the thirteen to fourteen million restaurant visits by a

member of the plaintiff class gave rise to a TCCWNA violation

warranting a civil penalty of $100, TGIF would be liable for

penalties amounting to more than a billion dollars.   Plaintiffs

assert that the court could reduce that penalty by remittitur.

See R. 4:49-1; see generally Cuevas v. Wentworth Grp., 226 N.J.

480 (2016) (clarifying appropriate use of remittitur).     Nothing

in the legislative history of the TCCWNA, which focuses on

sellers’ inclusion of legally invalid or unenforceable

provisions in consumer contracts, suggests that when the

Legislature enacted the statute, it intended to impose billion-

dollar penalties on restaurants that serve unpriced food and

beverages to customers.   See Sponsor’s Statement to A. 1660,

supra (noting legislative objective to deter sellers from

including unlawful provisions in contracts, warranties, notices,

and signs).

                                66
    Accordingly, we hold that in both Dugan v. TGI Fridays Inc.

and Bozzi v. OSI Restaurant Partners, LLC, plaintiffs have not

met Rule 4:32-1’s class certification standard for purposes of

the TCCWNA claims, and that the trial courts improperly granted

class certification as to those claims.

                                  VI.

    In Dugan v. TGI Fridays Inc., we affirm and modify the

Appellate Division’s judgment concerning class certification.

We remand the matter to the trial court for the determination of

the individual CFA and TCCWNA claims asserted by plaintiffs

Dugan and Fox.

    In Bozzi v. OSI Restaurant Partners, LLC, we affirm in part

and reverse in part the trial court’s class certification

determination.     We remand the matter to the trial court for the

certification of a class with a revised class definition, as set

forth in this opinion, solely for purposes of plaintiffs’ CFA

claim based on OSI’s alleged price-shifting practice, and for

the determination of the individual TCCWNA claim asserted by

plaintiff Bozzi.



     CHIEF JUSTICE RABNER and JUSTICES LaVECCHIA, FERNANDEZ-
VINA, and TIMPONE join in JUSTICE PATTERSON’s opinion. JUSTICE
ALBIN filed a separate, dissenting opinion. JUSTICE SOLOMON did
not participate.


                                  67
                                        SUPREME COURT OF NEW JERSEY
                                          A-92 September Term 2015
                                          A-93 September Term 2015
                                              077567 and 077556

DEBRA DUGAN, ALAN FOX, and
ROBERT CAMERON on behalf of
themselves and all others
similarly situated,

    Plaintiffs-Appellants,

         v.

TGI FRIDAYS, INC., CARLSON
RESTAURANTS WORLDWIDE, INC.,
on behalf of themselves and
all others similarly situated,

    Defendants-Respondents.

ERNEST BOZZI, on behalf of himself
and all others similarly situated,

    Plaintiff-Respondent,

         v.

OSI RESTAURANT PARTNERS, LLC,
T/A CARRABBA’S ITALIAN GRILL, et al.,

    Defendants-Appellants.

    JUSTICE ALBIN, dissenting.

    Today’s decision denying plaintiffs the right to proceed

with a class-action lawsuit against TGI Fridays, Inc. and

Carlson Restaurants, Inc. (collectively, TGIF) is at odds with

decades of this Court’s jurisprudence and steepens the path to

justice for consumers with small claims.   The decision will make

it more difficult for a class of many thousands of defrauded

                                 1
consumers to act collectively in pursuit of a common remedy

against a corporate wrongdoer.

    In knowing violation of the New Jersey Consumer Fraud Act

(CFA), N.J.S.A. 56:8-1 to -206, TGIF does not list beverage

prices on its menus.    TGIF pursues this policy because it knows

-- through its own study -- that a consumer will pay, on

average, $1.72 more per meal if beverage prices are not placed

on menus.    Plaintiffs allege that TGIF, by not listing beverage

prices in violation of N.J.S.A. 56:8-2.5, reaped an illicit

benefit while TGIF patrons suffered an ascertainable loss.       To

be sure, TGIF is free to charge whatever it wishes.    But if it

does so, it must comply -- like all restaurants -- with the law.

    A single consumer does not have the economic wherewithal to

litigate against a corporate giant over a $1.72 claim.    However,

thousands of similarly defrauded consumers banding together in a

class action gain “a measure of equality against” a defiant

corporate adversary.    Lee v. Carter-Reed Co., 203 N.J. 496, 517-

18 (2010).

    Unlike the majority, I believe that plaintiffs have

presented a viable legal theory under the CFA and our class-

action jurisprudence.    Looking at the evidence in the light most

favorable to plaintiffs, as we must at this stage, TGIF engaged

in an unconscionable commercial practice that caused an

ascertainable loss to its patrons.    TGIF has calculated that

                                  2
loss to be $1.72 per meal when beverage prices are not listed on

menus.    TGIF has concluded that uninformed consumers make

purchases exceeding the “fair” price they otherwise would have

paid.    Thus, each class member’s ascertainable loss is the

difference between what the patron in fact paid and what the

patron would have paid had TGIF listed beverage prices at the

point of sale, as required by N.J.S.A. 56:8-2.5.

    In the setting before us lies a stark reality.    There is no

reasonable substitute for a class action to vindicate the rights

of TGIF’s victimized patrons.    There will not be individual

complaints filed in small claims court to recover a loss of

$1.72.    The majority’s decision to overthrow the trial court’s

certification of the class ensures that there will be no

judicial action holding TGIF accountable for its wrongdoing.

The majority also has given TGIF a perverse incentive to

continue violating the CFA and an undeserved advantage over

competitor restaurants that comply with our consumer-fraud laws.

    I therefore respectfully dissent.

                                 I.

                                 A.

    Plaintiffs filed a class-action lawsuit against TGIF,

alleging that the chain restaurant engaged in a systematic

scheme to violate the Consumer Fraud Act in pursuit of higher



                                  3
profits.1   Plaintiffs claim that TGIF deliberately does not list

beverage prices on its menus “to induce[] consumers to pay

higher than reasonable prices for those beverages.”       TGIF does

not list beverage prices on its menus, notwithstanding N.J.S.A.

56:8-2.5, which requires that the “selling price” of

merchandise, including food and beverages, be “plainly marked

. . . at the point where the merchandise is offered for sale.”2

     In a per curiam opinion issued on October 25, 2011, the

Appellate Division declared, as a matter of law, that TGIF’s

failure to list beverage prices on its menus violates the CFA.

In rejecting TGIF’s argument, the Appellate Division stated:

“TGIF engages in legal gymnastics in a futile attempt to

convince us that beverages are not embraced within the

definition of merchandise in N.J.S.A. 56:8-2.5.”       At oral

argument before this Court, TGIF conceded that it was bound by

the Appellate Division’s ruling.       Because that ruling is the

controlling law and is not contested before this Court, TGIF is

in violation of the CFA.   The only remaining issue is whether




1  At this stage, the allegations in the complaint and evidence
of record must be viewed in the light most favorable to
plaintiffs, who are seeking class certification. Lee, supra,
203 N.J. at 505.

2  The CFA defines “merchandise” as “any objects, wares, goods,
commodities, services or anything offered, directly or
indirectly to the public for sale.” N.J.S.A. 56:8-1(c).


                                   4
the CFA violation -- the failure to list beverage prices --

caused an ascertainable loss to the class of TGIF patrons.

     TGIF does not pretend to be in compliance with the law;

rather, its defense is that a class action is not a proper

vehicle to be used by the patrons victimized by TGIF’s

practices.    However, a single consumer, even if defrauded,

cannot engage in costly litigation over a sum involving, at

most, several dollars.     Only through a class action that

aggregates thousands of small claims of similarly defrauded

patrons can a viable lawsuit proceed.

                                  B.

     In support of its application for class certification,

plaintiffs rely on marketing studies commissioned by TGIF that

analyzed consumer responses to menu pricing.3    In one study, TGIF

tested pricing decisions made by patrons in thirty restaurants -

- fifteen that listed beverage prices on menus and fifteen that

did not.     TGIF’s statistical study revealed that when alcohol

prices are placed on menus, TGIF loses on average $1.72 per

customer on a meal.     In the study, the informed patrons “traded

down” to the optimal price they could afford.


3  TGIF consulted with Simon-Kucher &amp; Partners, a firm that
specializes in pricing strategies and refers to itself as “the
world’s leading pricing consultancy.” Pricing, Simon-Kucher &amp;
Partners, http://www.simon-kucher.com/en/pricing (last visited
Sept. 14, 2017).


                                   5
     In other studies, TGIF determined the “fair” price and

“think-twice” price for the purchase of meals with and without

alcoholic beverages.   The “think-twice” price, apparently, is

the price at which bells go off in patrons’ heads and purchases

decline because consumers do not want to exceed their “check

thresholds.”   From TGIF’s perspective, the beauty of not placing

beverage prices on menus in violation of the CFA is that

uninformed patrons do not know when their purchases have

exceeded the “fair” price and reached the “think-twice” price.

     TGIF learned through the study what is commonly known --

that an informed consumer will make rational pricing decisions.

Because restaurants “with alcohol pricing on the menu

experienced a [$]1.72 [per-person average] decline as guests

traded down,” TGIF made the corporate decision that “alcohol

pricing will not be placed on the menu.”4   In other words, TGIF

determined that it did not pay to conform to the law and that it

was more profitable to capitalize on the ignorance of its

patrons.   From TGIF’s own statistical analysis comes the

calculation of ascertainable loss to its patrons and the gain to

itself.

     In passing N.J.S.A. 56:8-2.5 and requiring that the price




4  The study also included an analysis of non-alcoholic beverage
pricing, indicating that customers will trade down when the cost
of a meal exceeds a certain threshold.
                                 6
of an item be “plainly marked,” the Legislature intended to

empower consumers with knowledge.     TGIF has pursued, and

continues to pursue, a cynical corporate policy of profiteering

from violating that statute.

                                II.

     The Consumer Fraud Act makes it unlawful for a business to

engage in an “unconscionable commercial practice,” N.J.S.A.

56:8-2, such as selling merchandise, including food and

beverages, without listing the price when it is offered for

sale, N.J.S.A. 56:8-2.5.5   The Act “provides a private cause of

action to consumers who are victimized by fraudulent practices

in the marketplace.”    Gonzalez v. Wilshire Credit Corp., 207

N.J. 557, 576 (2011).   The statutory scheme empowers citizens

“to act as ‘private attorneys general’ in bringing civil actions

to enforce the Act.”    Steinberg v. Sahara Sam’s Oasis, LLC, 226

N.J. 344, 361 (2016).   This private right of action is

particularly important when the Attorney General -- perhaps due

to inadequate resources -- does not exercise his enforcement

powers, see N.J.S.A. 56:8-3 to -8, -11, -15 to -18, -20, as

here, to compel chain restaurants to comply with price-listing




5  N.J.S.A. 56:8-2.5 makes it unlawful “for any person to sell
. . . or offer for sale any merchandise at retail unless the
total selling price of such merchandise is plainly marked by a
stamp, tag, label or sign either affixed to the merchandise or
located at the point where the merchandise is offered for sale.”
                                 7
requirements mandated by statute.

     A plaintiff must satisfy three elements to prove that a

business is liable for consumer fraud.   The plaintiff must show

that the business engaged in “an unlawful practice,” that she

suffered an “ascertainable loss,” and that the “ascertainable

loss” is causally related to the unlawful practice.   Gonzalez,

supra, 207 N.J. at 576 (quoting Lee, supra, 203 N.J. at 521);

see also N.J.S.A. 56:8-19.   If the plaintiff succeeds in her

proofs, she is entitled to legal and/or equitable relief, treble

damages, and reasonable attorneys’ fees.   N.J.S.A. 56:8-19.

     TGIF’s own commissioned study establishes that, on average,

TGIF patrons who purchased beverages paid $1.72 more per meal

than they would have if prices had been listed on TGIF menus.

That $1.72 constitutes, on average, an ascertainable loss per

person, per meal, causally related to TGIF’s unlawful practice

of not disclosing prices.    See Lee, supra, 203 N.J. at 522; see

also N.J.S.A. 56:8-19.6




6  In plaintiffs’ second amended complaint, they allege that
TGIF’s
          practice of offering certain beverages without
          prices . . . is designed to . . . enable [TGIF]
          to charge slightly excessive prices on some
          drinks without losing sales; facilitate
          [TGIF’s]    practice   of   charging    grossly
          excessive    prices  on   other   drinks;   and
          facilitate     price   discrimination    and/or
          charging different prices for the same product
          based on undisclosed and arbitrary criteri[a].
                                 8
    According to the study, TGIF will lose money if it complies

with the CFA by listing beverage prices on its menus.    If TGIF

conforms to the law, then it has two options.    It can maintain

its current pricing, and informed consumers will trade down

rather than purchase drinks that exceed what TGIF has pegged as

the “fair” price patrons will pay per meal.     Or it can set

prices for beverages and meals at rates at which patrons will

not trade down.   Under either scenario, the consumer benefits if

TGIF follows the mandate of the CFA.

    Thus, TGIF’s patrons who purchase drinks are victimized by

the unlawful omission of beverage prices on menus.    TGIF sets

the overall pricing of its meals and beverages based on its

decision not to list beverage prices on menus.    Importantly,

under the CFA, plaintiffs merely have to show that the unlawful

practice caused the ascertainable loss.   See Lee, supra, 203

N.J. at 522; Int’l Union of Operating Eng’rs Local No. 68

Welfare Fund v. Merck &amp; Co., 192 N.J. 372, 389 (2007).

                               III.

    A class action is the only vehicle that will permit the

large number of patrons defrauded by TGIF to band together and

prosecute a lawsuit on equal terms with TGIF.    See Lee, supra,

203 N.J. at 517-18.   The trial court correctly certified the

class of customers who purchased unpriced alcoholic and non-

alcoholic beverages at company-owned New Jersey TGIF restaurants

                                 9
between January 12, 2004 and July 14, 2014 because the

requirements for class certification under Rule 4:32-1 have been

met.

       Certain issues are not in dispute:    the class of TGIF

beverage-purchasing consumers is too numerous for joinder of all

members, R. 4:32-1(a)(1); “there are questions of law or fact

common to the class,” R. 4:32-1(a)(2); there are claims and

defenses “typical” to the class, R. 4:32-1(a)(3); and the

representative party “will fairly and adequately protect the

interests of the class,” R. 4:32-1(a)(4).      The parties disagree,

however, on whether “the questions of law or fact common to the

members of the class predominate over any questions affecting

only individual members” and whether “a class action is superior

to other available methods for the fair and efficient

adjudication of the controversy.”       See R. 4:32-1(b)(3).

       Under our court rule, predominance does not mean that “all

issues [must] be identical among class members.”       Iliadis v.

Wal-Mart Stores, Inc., 191 N.J. 88, 108 (2007).      To satisfy the

predominance requirement, plaintiffs do not have to show “the

absence of individual issues or that the common issues dispose

of the entire dispute.”    Ibid.   Nor is it necessary to show that

“each class member [is] affected in precisely the same manner.”

Id. at 108-09.   Indeed, it is almost certain that individual

questions will remain after the resolution of the common

                                   10
questions of law and fact.     See id. at 108.   The heart of the

matter is whether the common issues are “qualitatively” more

significant than the individual ones.       See Lee, supra, 203 N.J.

at 519-20.

       The common issue of law among all class members is that

TGIF does not list its beverage prices in violation of N.J.S.A.

56:8-2.5.    The common issue of fact is that all members of the

class suffer from TGIF’s unlawful practice of not listing

beverage prices.    The loss suffered by patrons resulting from

TGIF’s violation of the CFA is dispersed over the entire class

of beverage purchasers, with individual patrons incurring

greater or lesser losses.

       That individual loss determinations must be made is not

unusual in class actions.     For example, in Lee, supra, the

class-action lawsuit alleged that a dietary supplement pill

called Relacore was sold to thousands of New Jersey consumers

through various mass-marketing deceptions in violation of the

CFA.    203 N.J. at 504.   We found that common issues of law and

fact predominated, notwithstanding that individual questions

concerning each class member’s ascertainable loss had to be

addressed.   Id. at 528.   We recognized that the individual

questions would include “[t]he number of bottles of Relacore

purchased by a class member, the price of each bottle, and

whether a refund was received.”     Ibid.   That information could
                                  11
come from the corporate defendant’s records or through a

customer’s proof of purchase.     Ibid.   We concluded that “the

individual questions posed” did not present an “insuperable

obstacle.”     Ibid.

      Similarly, in Iliadis, supra, we addressed the

certification of a class of hourly employees of Wal-Mart Stores,

Inc. who alleged that they were denied their contractual and

statutory right to rest and meal breaks.       191 N.J. at 96.   We

held that the predominance prong was met, even though certain

individual questions persisted, including:       how much time each

employee worked off-the-clock; “whether employees worked off-

the-clock with the expectation of compensation; and how much in

damages employees suffered.”     Id. at 112.    The presence of those

issues did not defeat the certification of the class because the

common issues were qualitatively more significant.       Id. at 112-
13.

      The individual questions that would remain in this case

surely are no more difficult or weighty than those faced in Lee

and Iliadis.     As was true in those cases, the common issues of

law and fact predominate over any individual ones.

      In addition, a class action unquestionably is “superior” to

any other means of fairly adjudicating the claims against TGIF.

The many defrauded patrons will not file actions in small claims

court to recover their minor monetary losses.       See Lee, supra,

                                  12
203 N.J. at 528.    As we noted in Lee, “[t]he discovery and

litigation costs, including expert-witness fees, make a lawsuit

against a determined corporate adversary a costly undertaking.”

Ibid.   A class action “provide[s] a diffuse group of persons,

whose claims are too small to litigate individually, the

opportunity to engage in collective action and to balance the

scales of power.”    Id. at 528-29.    Moreover, TGIF will not

likely reverse its corporate policy of willful disregard of the

CFA if just a few patrons seek relief for the small amounts they

overpaid.    Here, there will be a class action or no action at

all.

                                 IV.

                                 A.

       The statistical evidence establishing that patrons suffer a

common ascertainable loss by TGIF’s nondisclosure of beverage

prices on menus comes from TGIF’s own files.     The type of

statistical evidence offered here is not foreign to our

jurisprudence.

       In Tyson Foods, Inc. v. Bouaphakeo, the United States

Supreme Court approved of the use of a statistical or

representative sample of members of a class of workers, who

claimed that they were shorted on their wages, to establish the

basis for a class-action lawsuit.      577 U.S. ___, ___, 136 S. Ct.

1036, 1046, 194 L. Ed. 2d 124, 134-35 (2016).     In that case,

                                 13
employees of Tyson Foods brought a class action under the Fair

Labor Standards Act (FLSA), 29 U.S.C.A. §§ 201 to 219, claiming

that their employer denied them their rightful overtime wages

for the time they expended donning and doffing protective

equipment.   Id. at ___, 136 S. Ct. at 1041, 194 L. Ed. 2d at

129.    Tyson Foods contended that the variance in protective gear

worn by employees rendered impossible any uniform calculation of

time each employee spent putting on and taking off the gear, and

therefore “the employees’ claims were not sufficiently similar

to be resolved on a classwide basis.”     Id. at ___, 136 S. Ct. at

1042-43, 1046, 194 L. Ed. 2d at 131, 134-35.

       The Supreme Court disagreed.   The Court permitted

plaintiffs to rely on expert statistical analysis that

determined the average time taken for employees to change into

the necessary protective gear.    Id. at ___, 136 S. Ct. at 1044-

45, 194 L. Ed. 2d at 133.   Because “each employee worked in the

same facility, did similar work, and was paid under the same

policy,” the experiences of a representative subset of employees

was “probative as to the experiences of all of them.”       Id. at

___, 136 S. Ct. at 1048, 194 L. Ed. 2d at 137.

       Courts have allowed market research analysis to calculate

damages for a class of plaintiffs based on the price premium

consumers paid resulting from a company’s misrepresentation

about its product.    One such example in the class action setting

                                 14
is In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y.

2015).   In that case, consumers in California and New York

brought a class action under their respective state consumer

laws, alleging that Scotts’ description of their grass as “50%

thicker with half the water compared to ordinary seed” was

misleading.   Id. at 404-5 (internal quotations omitted).     At the

class certification stage, the plaintiffs’ expert presented a

damages model to specifically isolate the additional amount of

money -- or “price premium” -- that consumers paid based on the

alleged misrepresentation.   Id. at 414.   The United States

District Court held that the proposed model satisfied the

standard for showing that damages could be measured on a

classwide basis.   Id. at 415.   Moreover, while the Scotts Court

emphasized that under the federal standard an expert was not

required to “perform his analyses at the class certification

stage,” it did point to compelling evidence that had been

provided in support of the actual existence of a price premium,

including “internal documents suggesting the existence of a

premium based on the [allegedly false claim].”   Id. at 414.     See

also Goldemberg v. Johnson &amp; Johnson Consumer Cos., 317 F.R.D.

374, 396-97 (S.D.N.Y. 2016) (holding damages measurable on

classwide basis where plaintiffs had presented model that

isolates portion of price attributable to company’s alleged

misrepresentations about its products).

                                 15
       Here, TGIF’s internal documents determined the loss

attributable to consumers when it did not list beverage prices.

The market analysis conducted by the experts in Scotts and

Goldemberg are comparable to the market research used by TGIF to

justify its not listing beverage prices.

                                 B.

       Based on its marketing studies, TGIF apparently made a

business decision not to list beverage prices for the sake of

higher profits, notwithstanding that its policy violated the

CFA.    Certainly, statistical evidence that was sufficiently

clear and compelling to guide TGIF in shaping its business

policy is equally relevant in this class-action suit to

establish that TGIF’s unlawful practice caused an ascertainable

loss on average of $1.72 per person, per meal.

       Plaintiffs have established that common issues of law and

fact predominate over individual ones and that a class action is

not only a superior vehicle but is the only vehicle for

vindicating the rights of the aggrieved class of patrons.

                                 V.

       Plaintiffs are not advancing a “fraud-on-the-market” theory

-- a theory that typically applies in securities cases.      Ante at

___ (slip op. at 44).    In an open securities market, the price

of stocks depends on all available material information.     Peil

v. Speiser, 806 F.2d 1154, 1160 (3d Cir. 1986).    The fraud-on-

                                 16
the-market theory recognizes that the issuance of a material

misleading statement by a company will influence the pricing of

its stock.   See Basic Inc. v. Levinson, 485 U.S. 224, 241-42,

108 S. Ct. 978, 989, 99 L. Ed. 2d 194, 215 (1988).     Based on

that premise, in a securities-fraud case, stock purchasers can

pursue a fraud claim without showing that they relied on the

misrepresentations.    Ibid.   Under the fraud-on-the-market
approach, a rebuttable presumption of reliance applies to

satisfy the causal requirement between a defendant’s

misrepresentation and plaintiff’s purchase of the stock at the

fraudulently inflated price.    Id. at 243, 244-47, 109 S. Ct. at

989-92, 99 L. Ed. 2d at 216-18.    In Kaufman v. i-Stat Corp., we

did not allow the plaintiffs in a common-law fraud action to

“prove the element of reliance through the presumption of a

fraud on the market.”   165 N.J. 94, 97, 118 (2000) (emphases

added).

    In this case, plaintiffs do not seek to satisfy an element

of their claim through a presumption of fraud on the market.

First, “the CFA ‘does not require proof of reliance,’ but only a

causal connection between the unlawful practice and

ascertainable loss.”    See Lee, supra, 203 N.J. at 528 (quoting

Gennari v. Weichert Co. Realtors, 148 N.J. 582, 604, 607

(1997)).   Second, plaintiffs here do not seek the benefit of a

presumption to satisfy their burden of proving a causal nexus

                                  17
between TGIF’s statutory violation and the ascertainable loss

suffered by TGIF’s patrons.

    The present case is unlike International Union, supra, in

which the plaintiff sought “to be relieved of the usual

requirements that plaintiff prove an ascertainable loss” by

showing only that the price charged for Vioxx was higher than it

should have been as a result of defendant’s fraudulent marketing

campaign.”   192 N.J. at 392.   There, the plaintiff intended to

use “a single expert who would opine about the effect on pricing

of the marketing campaign in which defendant engaged.”    Ibid.

(emphasis added).

    Here, plaintiffs do not rely on a “single expert” to

establish the price effect of TGIF’s statutory violation.     See

ibid.   Instead, plaintiffs have presented the study commissioned

by TGIF that calculates the ascertainable loss to its patrons

when beverage prices are not listed on menus.   TGIF’s own study

is offered as direct evidence and, at this procedural stage, is

entitled to deference as a statistically accurate calculation of

the loss incurred by patrons.   Although the evidence must be

viewed in the light most favorable to plaintiffs, the majority

draws negative inferences to cast doubt on the validity of

TGIF’s study.   Significantly, this case is merely at the class-

certification stage, and plaintiffs are entitled to introduce

expert-witness testimony to further bolster their claims of

                                 18
ascertainable loss based on TGIF’s study.

      Moreover, the majority is mistaken if it is suggesting that

the CFA does not protect consumers from price gouging.      See,

e.g., N.J.S.A. 56:8-33(b) (prohibiting ticket scalping at

exorbitant rates).7    The purpose of requiring that the price of

merchandise be listed at the point of sale pursuant to N.J.S.A.

56:8-2.5 is to allow consumers to make informed decisions in

making purchases.     Indeed, the legislative history of N.J.S.A.

56:8-2.5 makes this very point.     See Sponsor’s Statement to A.

1172 (1972) (“Consumers have a right to know the price of all

items they wish to purchase . . . .    Clear indication of the

price of all merchandise will aid in preventing discriminatory

sales practices and capricious pricing by merchants.”).

      Additionally, the greater the number of victims of a CFA

violation should not diminish the right to a remedy.     The fact

that plaintiffs have presented a large discrete class of




7   N.J.S.A. 56:8-33(b) provides:

           No person other than a registered ticket
           broker shall resell or purchase with the
           intent to resell a ticket for admission to a
           place of entertainment at a maximum premium in
           excess of 20% of the ticket price or $3.00,
           whichever is greater, plus lawful taxes. No
           registered ticket broker shall resell or
           purchase with the intent to resell a ticket
           for admission to a place of entertainment at
           a premium in excess of 50% of the price paid
           to acquire the ticket, plus lawful taxes.
                                  19
victimized patrons makes this case a more, not less, compelling

case for class certification.

                                  VI.

      I also disagree with the majority’s conclusion that

plaintiffs have failed to make out a claim under the Truth-in-

Consumer Contract, Warranty and Notice Act (TCCWNA), N.J.S.A.

56:12-14 to -18.8   Plaintiffs have presented evidence to satisfy

the four elements of a TCCWNA claim.9   Plaintiffs have

established that (1) they are consumers; (2) TGIF is a seller;

(3) TGIF displays menus, which constitute a written notice or

sign for purposes of the TCCWNA; and (4) the omission of

beverage pricing on the menus violates state law -- N.J.S.A.

56:8-2.5.   See N.J.S.A. 56:12-15.

      The majority contends that plaintiffs are not “aggrieved




8  Although the discussion here is directed toward the Dugan
case, the reasoning and conclusion apply equally to the Bozzi
case.

9   N.J.S.A. 56:12-15 provides:

            No seller . . . shall in the course of his
            business offer to any consumer or prospective
            consumer . . . or display any written . . .
            notice or sign . . . which includes any
            provision    that   violates    any   clearly
            established legal right of a consumer or
            responsibility of a seller . . . as
            established by State or Federal law at the
            time the offer is made or the consumer
            contract is signed or . . . notice or sign is
            given or displayed.
                                  20
customer[s]” pursuant to N.J.S.A. 56:12-17, positing that

plaintiffs have not met the evidentiary threshold of showing

that TGIF patrons were given menus before purchasing their

meals.   Ante at ___ (slip op. at 59-60).    To reach that

conclusion, the majority denies plaintiffs the benefit of the

most favorable inferences to be drawn from TGIF’s corporate

policy of requiring its servers to hand each customer a menu.

At this stage, the fair inference is that TGIF’s servers

complied with corporate policy and that patrons received menus.

Plaintiffs have satisfied their burden of showing that the class

of patrons here meets the definition of aggrieved customers.

       Additionally, the majority has erred in finding that TGIF’s

obligation to display beverage pricing was not clearly

established by the CFA’s point-of-sale statute, N.J.S.A. 56:8-

2.5.   Ante at ___ (slip op. at 61-62).     The plain and simple

statutory language clearly indicates that TGIF is required to

list beverage prices on its menus.    N.J.S.A. 56:8-2.5 prohibits

the sale of “merchandise” without a price at the point of sale.

Merchandise “include[s] any objects, wares, goods, commodities,

services or anything offered, directly or indirectly to the

public for sale.”    N.J.S.A. 56:8-1(c).    Clearly, beverages are

goods, and at the very least, beverages meet the description of

“anything offered . . . to the public for sale.”      Ibid.

(emphasis added).    TGIF did not have to wait for a published

                                 21
opinion by this Court to reach this common-sense conclusion.

    In this case, the Appellate Division expressed its

confidence that “if the legislature intended to excise beverage

sales at restaurants from the sweep of the CFA . . . , it would

have done so in plain language without the necessity of an

advanced degree in either logic or linguistics.”   In other

words, divining the meaning of “merchandise” is not rocket

science.   Significantly, no party has argued before us that

N.J.S.A. 56:8-2.5 does not mandate that a restaurant list

beverage prices on its menus.

    Incredibly, the majority hints that N.J.S.A. 56:8-2.5 may

not apply to the sale of beverages by restaurants.    If that were

true, N.J.S.A. 56:8-2.5 would not require restaurants to post

any meal prices.    Under the statutory definition of merchandise,

there is no logical distinction between food and beverage served

in restaurants.    It cannot be that a hamburger is merchandise

but a milkshake is not.

    The majority notes that it is unaware of whether the

Attorney General has taken action to compel restaurants to list

beverage pricing on menus pursuant to N.J.S.A. 56:8-2.5.      Ante

at ___ (slip op. at 60).    The failure of the Attorney General to

enforce a CFA provision, however, is not evidence that a

restaurant is complying with the law.    Indeed, the CFA vests

individuals with the power to act as private attorneys general

                                 22
as a separate enforcement mechanism.   Steinberg, supra, 226 N.J.

at 361.   This Court, moreover, has the ultimate authority to

construe the meaning of N.J.S.A. 56:8-2.5, and if there is any

doubt about the Appellate Division’s interpretation, the

majority should have certified that issue separately.      Why has

the majority remanded the Bozzi class-certification case for

further proceedings if there is a question about whether

restaurants must place beverage prices on their menus?      Judicial

economy certainly is not advanced by letting a class action

proceed if there is no statutory authority to support a claim.

    Additionally, the majority does not explain why in the

Bozzi case it vacated the trial court’s injunction, which

mandated that OSI restaurants list beverage prices on menus.

The right to equitable relief compelling those restaurants to

comply with the price-listing requirements of N.J.S.A. 56:8-2.5

was not dependent on class certification.     See N.J.S.A. 56:8-19.

The right to equitable relief depended only on whether N.J.S.A.

56:8-19 requires disclosure of beverage prices on menus, an

issue that the majority refuses to address even though it

overturns the trial court’s injunction.     Last, if the

application of TCCWNA to small claims in this case is too blunt

an instrument, as argued by amici curiae, the Legislature is the

proper forum to address this issue.

                               VII.

                                23
    The majority’s decision is a major blow to consumer rights

advanced in both the CFA and TCCWNA.    The decision ensures that

thousands of patrons victimized by TGIF’s violation of our

consumer-fraud laws have no meaningful remedy.   Additionally,

TGIF now has little incentive to alter its corporate policy of

ignoring provisions of the CFA.    TGIF’s compliance with N.J.S.A.

56:8-2.5’s requirement that beverage prices be listed at the

point of sale may well depend on whether the Attorney General

exercises his powers to enforce our consumer-fraud laws.

    For the reasons expressed, I respectfully dissent.




                                  24
